         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 1 of 73

                         Docket Nos. 23-15650 (L), 24-1979

                                             In the

       United States Court of Appeals
                                            For the

                                     Ninth Circuit

                             ANDREW HARRINGTON, et al.,

                                                           Plaintiffs-Respondents-Appellees,

                                               v.

                    CRACKER BARREL OLD COUNTRY STORE,

                                                             Defendant-Petitioner-Appellant.

                           _______________________________________
     Appeal from a Decision of the United States District Court for the District of Arizona,
                 No. 2:21-cv-00940-DJH ∙ Honorable Diane J. Humetewa


                       RESPONDENTS’/APPELLEES’
                           ANSWERING BRIEF

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              Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 2 of 73




                                         TABLE OF CONTENTS


TABLE OF AUTHORITIES ....................................................................................iv

STATEMENT OF JURISDICTION.......................................................................... 1

ISSUES PRESENTED...............................................................................................2
STANDARD OF REVIEW .......................................................................................3

STATEMENT OF THE CASE .................................................................................. 4
         I.       Introduction ...........................................................................................4
         II.      Factual and Procedural Background ..................................................... 6

                  A.       Appellant waives service of summons........................................ 6

                  B.       First Motion to Dismiss and Motion for Conditional
                           Certification ................................................................................ 7
                  C.       Amended Complaint and Amended Motion for
                           Conditional Certification ............................................................ 9
                  D.       Second Amended Complaint and Second Amended
                           Motion for Conditional Certification ........................................11
                  E.       The District Court denies Appellant’s Motion to Dismiss
                           and grants conditional certification...........................................13

                  F.       Appellant panics........................................................................14
SUMMARY OF THE ARGUMENT ......................................................................15

ARGUMENT ...........................................................................................................17

         I.       This Court should not exercise jurisdiction under 28 U.S.C. §
                  1292(b) ................................................................................................17

         II.      There is no reason to overturn Campbell or infringe on a district
                  court’s discretion as to how it manages its cases ................................21

         III.     BMS does not apply and nationwide notice is appropriate................. 24

                                                            i
 Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 3 of 73




      A.       The BMS decision.....................................................................25

      B.       The purpose and history of the FLSA .......................................26
      C.       Portal-to-Portal Act ...................................................................27

      D.       The text of Section 216(b) shows collective actions are
               representative actions ................................................................29

      E.       Courts have interpreted section 216(b) claims to be
               representative actions ................................................................31

      F.       The First Circuit Waters decision .............................................33
      G.       Rule 4(k) does not apply ...........................................................33
      H.       The circuits applying BMS to Section 216(b) claims are
               wrong.........................................................................................34
      I.       Application to this case .............................................................37
      J.       The District Court’s prior rulings moot Appellant’s
               argument....................................................................................37
      K.       Alternatively, the correct procedure is for Appellant to
               request a venue transfer ............................................................38
IV.   Resolving any arbitrability disputes are appropriate for the
      second stage of the conditional certification process ..........................39
      A.       Background ...............................................................................39

      B.       Disputes exist as to who is subject to arbitration ......................40
      C.       The District Court made a decision based on the evidence
               presented ...................................................................................41

      D.       Resolving arbitrability disputes is appropriate for the
               second stage of the conditional certification process ............... 42
V.    The District Court did not commit clear error when making a
      factual determination that Basch voided the arbitration
      agreement ............................................................................................44



                                               ii
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 4 of 73




                 A.       Standard of review ....................................................................44

                 B.       Arizona state law applies ..........................................................44
                 C.       Factual and procedural background ..........................................45

                  D.      There is no clear error ...............................................................47

                  E.      Continued employment was not consideration in
                          exchange for agreeing to arbitration .........................................50

                  F.      Appellant’s argument is contrary to Arizona law and
                          would eradicate the infancy doctrine ........................................51
                  G.      The cases relied on by Appellant do not apply .........................52
                  H.      Under the “law of the case” doctrine, the District Court’s
                          decision must be affirmed .........................................................56
CONCLUSION ........................................................................................................57
CERTIFICATE OF COMPLIANCE .......................................................................58
STATEMENT OF RELATED CASES ...................................................................59

CERTIFICATE OF SERVICE ................................................................................60




                                                         iii
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 5 of 73




                                   TABLE OF AUTHORITIES

CASES
Abraham v. St. Croix Renaissance Grp., L.L.L.P.,
     719 F.3d 270 (3rd Cir. 2013) .........................................................................36

Almada v. Ruelas,
     96 Ariz. 155 (1964)........................................................................................44
Bielski v. Coinbase, Inc.,
      87 F.4th 1003 (9th Cir. 2023) ....................................................................3, 44
Bigger v. Facebook, Inc.,
      947 F.3d 1043 (7th Cir. 2020) .......................................................................43

Blackie v. Barrack,
      524 F.2d 891 (9th Cir. 1975) .........................................................................18
Bobby Floars Toyota Inc. v. Smith,
     48 N.C. App. 580 (N.C. 1980).......................................................................53

Boon Glob. Ltd. v. United States Dist. Court (In re Boon Glob., Ltd.),
     923 F.3d 643 (9th Cir. 2019) ...................................................................10, 19

Bragdon v. Abbott,
     524 U.S. 624 (1998).......................................................................................27
Breuer v. Jim's Concrete of Brevard, Inc.,
     538 U.S. 691 (2003).......................................................................................29
Bristol-Myers Squibb Co. v. Sup. Ct. of Cal., San Francisco Cty.,
      582 U.S. 255 (2017).............................................................................1, 24, 36
Bristol-Myers Squibb Co. v. Sup. Ct. of Cal., San Francisco Cty.,
      1 Cal. 5th 783 (Cal. 2016) .............................................................................25

Brixey v. McAdoo’s Seafood Co., LLC,
      C.A. No. SA-23-cv-00232-DAE; 2024 U.S. Dist. LEXIS 1467
      (W.D. Tex. Jan. 2, 2024) ...............................................................................23

Burger King Corp. v. Rudzewicz,
     471 U.S. 462 (1985)...................................................................................8, 19


                                                       iv
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 6 of 73




Campbell v. City of Los Angeles,
    903 F.3d 1090 (9th Cir. 2018) .......................................................9, 21, 22, 32

Canaday v. Anthem Cos.,
     439 F. Supp. 3d 1042 (W.D. Tenn. 2020) ....................................................20

Canaday v. Anthem Cos.,
     9 F.4th 392 (6th Cir. 2021) ....................................................20, 28, 31, 35, 36

Clark v. Wells,
      203 U.S. 164 (1903).......................................................................................30

Cronin v. Bank of Am. Corp., C.A.
     No. 3:23-cv-00813-KDB-DCK, 2024 U.S. Dist. LEXIS 138599
     (W.D.N.C. Aug. 5, 2024) ........................................................................20, 21
Davidson v. O’Reilly Auto Enters., LLC,
     968 F.3d 955 (9th Cir. 2020) ........................................................................... 3
Droesch v. Wells Fargo Bank, N.A.,
     No. 20-cv-06751-JSC, 2021 WL 2805604 (N.D. Cal. July 6, 2021) ............ 43

Dunne v. Quantum Residential Inc.,
     2024 U.S. Dist. LEXIS 108285 (W.D. Wash. June 18, 2024) ......................22

E.K.D. ex. Rel Dawes v. Facebook, Inc.,
     885 F. Supp. 2d 894 (S.D. Ill. 2012) .............................................................54
Encino Motorcars, LLC v. Navarro,
     584 U.S. 79 (2018).........................................................................................24

Fed. Trade Comm’n v. Qualcomm Inc.,
      969 F.3d 974 (9th Cir. 2020) ...........................................................................3

Fischer v. Fed. Express Corp.,
      42 F.4th 366 (3d Cir. 2022) ...........................................................................35

Ford Motor Co. v. Mont. Eighth Judicial Distr. Ct.,
     592 U.S. 351 (2021).......................................................................................26
Garcia v. Cent. Coast Rests., Inc.,
     No. 18-cv-02370-RS, 2019 U.S. Dist. LEXIS 162588
     (N.D. Cal. Sept. 23, 2019) .......................................................................47, 48


                                                        v
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 7 of 73




Genesis HealthCare Corp. v. Symczyk,
     569 U.S. 66 (2013).........................................................................................18

Goldlawr, Inc. v. Heiman,
      369 U.S. 463 (1962).......................................................................................39

Gonzalez v. Diamond Resorts Int’l Mktg.,
     Case No. 18-cv-979-APG-CWH, 2019 U.S. Dist. LEXIS 126434
     (D. Nev. July 29, 2019) .................................................................................42
Gust, Rosenfeld & Henderson v. Prudential Ins. Co. of Am.,
      182 Ariz. 586 (1995)......................................................................................48
Halle v. West Penn Allegheny Health Sys.,
      842 F.3d 215 (3d Cir. 2016) ..........................................................................22
Harris v. Diamond Dolls of Nev., LLC,
      2023 U.S. Dist. LEXIS 219674 (D. Nev. Dec. 11, 2023) .............................22
Hoffmann-La Roche v. Sperling,
     493 U.S. 165 (1989).....................................................................28, 29, 32, 44

Holifield v. NexusCw, Inc.,
       2024 U.S. Dist. LEXIS 149038 (S.D. Cal. Aug. 20, 2024)...........................22

Hurley v. Southern Cal. Edison Co.,
      183 F.2d 125 (9th Cir. 1950) ...................................................................48, 49
I.B. ex rel. Fife v Facebook,
       905 F. Supp. 2d 989 (N.D. Cal. 2012)...........................................................53

ICTSI Oregon, Inc. v. Int’l Longshore & Warehouse Union,
      22 F.4th 1125 (9th Cir. 2022) ........................................................................17

Ins. Corp. of Ireland, Ltd. v. Compagnie des Bauxites de Guinee,
      456 U.S. 694 (1982).......................................................................................19

Jennings v. Lee,
      105 Ariz. 167 (1969)......................................................................................51
Johnson v. Lazer Spot, Inc.,
     C.A. No. 1:22-cv-1852-MHC, 2024 U.S. Dist. LEXIS 11865
     (N.D. Ga. Jan. 19, 2024) ................................................................................23


                                                       vi
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 8 of 73




Jones v. Medtronic Inc.,
      411 F. Supp. 3d 521 (D. Ariz. 2019) .........................................................9, 19

Kelly v. Furlong,
      194 Minn. 465 (Minn. 1935) .........................................................................55

Knepper v. Rite Aid Corp.,
     675 F.3d 249 (3d Cir. 2012) ..........................................................................28

Leslie Salt Co. v. United States,
       55 F.3d 1388 (9th Cir. 1995) ...................................................................56, 57

Lightfoot v. Cendant Mortg. Corp.,
      580 U.S. 82 (2017).........................................................................................30

Lillehagen v. Alorica, Inc.,
      2014 U.S. Dist. LEXIS 67963 (C.D. Cal. May 15, 2014) .............................18
Lopez v. Aircraft Serv. Int’l,
      No. 23-55015, 2024 U.S. App. LEXIS 17784
      (9th Cir. July 19, 2024) ..............................................................................3, 44

Lopez v. Kmart Corp.,
      No. 15-cv-01089-JSC, 2015 U.S. Dist. LEXIS 58328
      (N.D. Cal. May 4, 2015) ................................................................................54

Lorelei Corp. v. County of Guadalupe,
      940 F.2d 717 (1st Cir. 1991)..........................................................................33

Loy v. Rehab Synergies, L.L.C.,
      71 F.4th 329 (5th Cir. 2023) ..........................................................................23

Marsh v. J. Alexander’s, LLC,
     905 F.3d 610 (9th Cir. 2018) ...........................................................................5
Meija v. Bimbo Bakeries USA, Inc.,
      No. CV-16-00654-TUC-JAS, 2017 U.S. Dist. LEXIS 222183
      (D. Ariz. Aug. 14, 2017) ................................................................................42
Merchants’ Credit Bureau v. Akiyama,
     64 Utah 364, 370 (1924) ..........................................................................48, 49




                                                       vii
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 9 of 73




Midkiff v. Anthem Co., Inc.,
      640 F. Supp. 3d 486 (E.D. Va. 2022) ............................................................23

Milton H. Greene Archives v. Marilyn Monroe LLC,
      692 F. 3d 983 (9th Cir. 2012) ........................................................................38

Monplaisir v. Integrated Tech Grp., LLC,
     No. C 19-1484 WHA, 2019 U.S. Dist. LEXIS 132887
     (N.D. Cal. Aug. 6, 2019) ...............................................................................42
Neumann v. Red Rock 4-Wheelers, Inc.,
    C.A. No. 2:19-cv-02160-ART-EJY, 2022 U.S. Dist. LEXIS 146131
    (D. Nev. Aug. 15, 2022) ................................................................................38

New Hampshire v. Maine,
     532 U.S. 742 (2001).......................................................................................38

Norred v. Cotton Patch Café, LLC,
     3:19-cv-1010-G, 2019 U.S. Dist. LEXIS 183290 (N.D. Tex. 2019) ............ 55
Ortiz v. True Food Kitchen Holdings, LLC,
       No. CV-22-01821-PHX-DGC, 2023 U.S. Dist. LEXIS 51812
       (D. Ariz. Mar. 27, 2023) ..........................................................................31, 34

Paster v. Putney Student Travel, Inc.,
      CV 99-2062 RSWL, 1999 U.S. Dist. LEXIS 9194
      (C.D. Cal. June 7, 1999) ................................................................................52
Prickett v. Dekalb County,
      349 F.3d 1294 (11th Cir. 2003) ................................................................26, 32

Repwest Ins. Co. v. Praetorian Ins. Co.,
     890 F. Supp. 2d 1168 (D. Ariz. 2012) ...........................................................22

Richter v. Autozoners, LLC,
      2023 U.S. Dist. LEXIS 200161 (D. Mont. Nov. 7, 2023) .............................22

Rivera v. CHSPSC, LLC,
      C.A. No. 2:23-cv-00336-KWR-KK, 2024 U.S. Dist. LEXIS 130118
      (D. N.M. July 23, 2024).................................................................................23




                                                      viii
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 10 of 73




Sandbergen v. Ace Am. Ins. Co.,
     No. 18-cv-04567-SK, 2019 WL 13203944
     (N.D. Cal. June 17, 2019) ..............................................................................43
Scott v. Chipotle Mexican Grill, Inc.,
       954 F.3d 502 (2d Cir. 2020) ..........................................................................22
Sheller by Sheller v. Frank’s Nursery & Crafts,
      957 F. Supp. 150 (N.D. Ill. 1997) ..................................................................53
Smith v. T-Mobile USA, Inc.,
      570 F.3d 1119 (9th Cir. 2009) .......................................................................31
Southard v. Kipper Tool Co.,
      C.A. No. 3:15-cv-03621-JSC, 2023 U.S. Dist. LEXIS 188279
      (N.D. Cal. Oct. 19, 2023) ..............................................................................39
St. Paul Fire & Marine Ins. Co. v. Muniz,
      504 P.2d 546 (Ariz. App. 1972) ....................................................................44
Stroupes v. Finish Line, Inc.,
      No. 1:04-cv-133, 2005 U.S. Dist. LEXIS 6975
      (E.D. Tenn. Mar. 15, 2005) ...........................................................................54

Swales v. KLLM Transp. Services, L.L.C.,
     985 F.3d 430 (5th Cir. 2021) .........................................................................12
Terry v. Hodges,
      2024 U.S. Dist. LEXIS 4330 (D. Or. Jan. 9, 2024) .......................................22

Thiessen v. General Electric Capital Corp.,
      267 F.3d 1095 (10th Cir. 2001) .....................................................................22

Thornton v. Tyson Foods, Inc.,
     683 F. Supp. 3d 885 (W.D. Ark. 2023) ...................................................22, 23
Tijerino v. Stetson Desert Project, LLC,
       934 F.3d 968 (9th Cir. 2019) .........................................................................22
Underhill v. Kijakazi,
     No. 22-36033, 2023 U.S. App. LEXIS 32346
     (9th Cir. Dec. 27, 2023) .................................................................................56



                                                       ix
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 11 of 73




United States v. Berkowitz,
      328 F.2d 358 (3d Cir. 1964) ..........................................................................39

United States v. Hinkson,
      585 F.3d 1247 (9th Cir. 2009) ......................................................................... 3

United States v. Lummi Nation,
      763 F.3d 1180 (9th Cir. 2014) .......................................................................56

Valencia v. White,
      134 Ariz. 139 (Ariz. Ct. App. 1982)..............................................................51

Vallone v. CJS Sols. Grp., LLC,
      9 F.4th 861 (8th Cir. 2021) ............................................................................35

Vanegas v. Signet Builders, Inc.,
     No. 23-2964, 2024 U.S. App. LEXIS 20780
     (7th Cir. Aug. 16, 2024) ....................................................................28, 34, 35
Varna v. TCC Wireless, LLC,
     478 F. Supp. 3d 724 (N.D. Ill. 2020) .............................................................40

Waters v. Day & Zimmerman NPS, Inc.,
     23 F.4th 84 (1st Cir. 2022) ..........................................................20, 22, 33, 34

Waters v. Day & Zimmerman NPS, Inc.,
     464 F. Supp. 3d 455 (D. Mass. 2020) ...........................................................20
Wilkinson v. Facebook, Inc.,
      2024 U.S. App. LEXIS 12163 (9th Cir. May 21, 2024) ...............................17

World-Wide Volkswagen Corp. v. Woodson,
     444 U.S. 286 (1980).......................................................................................26

Worman Motor Co. v. Hill,
    54 Ariz. 227 (1939)........................................................................................51

Wright v. Waste Pro USA, Inc.,
     69 F.4th 1332 (11th Cir. 2023) ......................................................................22
Yeseta v. Baima,
      837 F.2d 380 (9th Cir. 1988) .........................................................................44



                                                       x
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 12 of 73




COURT RULES
Federal Rules of Civil Procedure 12(b)(3) ..............................................................39

STATUTES

28 U.S.C. § 1292(b) ...........................................................................1, 14, 15, 17, 20
28 U.S.C. § 1331 ........................................................................................................1

28 U.S.C. § 1404 ................................................................................................16, 32
28 U.S.C. § 1404(a) ...........................................................................................38, 39
28 U.S.C. § 1406 ......................................................................................................16

28 U.S.C. § 1406(a) .................................................................................................38

29 U.S.C. § 201 et seq................................................................................................1

29 U.S.C. § 202(a) ...................................................................................................26
29 U.S.C. § 202(b) ...................................................................................................26
29 U.S.C. § 203(m) ....................................................................................................4
29 U.S.C. § 203(m)(2)(A)(ii) .................................................................................5, 6

29 U.S.C. § 206 ..........................................................................................................6

29 U.S.C. § 216 ..........................................................................................................6

29 U.S.C. § 216(b) ............................................................................................passim

OTHER AUTHORITIES

7B Wright & Miller, FED. PRAC. & PROC. CIV. § 1807 (3d ed.)..............................32
29 C.F.R. § 531.56(f) .................................................................................................5

93 Cong. Rec. 538, 2182 (1947) ..............................................................................27

Fair Labor Standards Act of 1938 (1938), at § 16(b) ..............................................28


                                                            xi
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 13 of 73




Fair Labor Standards Act of 1938 (2024), at § 216(b) ............................................28

https://www.adr.org/aaa/ShowProperty?nodeId=/UCM/ADRSTG_004362 .......... 46
Low Wages and Few Benefits Mean Many Restaurant Workers Can’t
     Make Ends Meet, ECON. POL. INST., Aug. 21, 2014,
     https://www.epi.org/publication/restaurant-workers ....................................... 4
Restaurant Employee Demographics, NAT. RESTAURANT ASSOC.,
      April 2024, https://restaurant.org/getmedia/6f8b55ed-5b3f-40f5-
      ad04-709ff7ff9f0f/nra-data-brief-restaurant-employee-
      demographics.pdf.............................................................................................4
Restaurants/Food Service, NAT. HUMAN TRAFFICKING HOTLINE,
      https://humantraffickinghotline.org/en/labor-trafficking-
      venuesindustries/restaurantsfood-service (last visited Aug. 27, 2024) .......... 4

The Hands that Feed Us, THE FOOD CHAIN WORKERS ALLIANCE,
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     content/uploads/2012/06/Hands-That-Feed-Us-Report.pdf ............................ 4




                                                        xii
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 14 of 73




                          STATEMENT OF JURISDICTION

      The District Court had federal question jurisdiction under 28 U.S.C. § 1331

because this case was brought under a federal law, the Fair Labor Standards Act. See

29 U.S.C. § 201 et seq.

      Appellees disagree that Issue No. 1 in Appellant’s brief (pp. 15, 29-46), which

concerns the Campbell certification process for FLSA collective actions, should be

considered by this Court. The District Court specifically determined that this issue did

not meet the criteria under 28 U.S.C. § 1292(b). SER-22-23. Therefore, this Court

should not exercise jurisdiction on this issue.

      Furthermore, as the Supreme Court’s ruling in Bristol-Myers Squibb Co. v. Sup.

Ct. of Cal., San Francisco Cty., 582 U.S. 255 (2017) (“BMS”) is to be considered in

this appeal, that case relied on “settled principles regarding specific jurisdiction.” Id. at

264. BMS only addressed the limits of the Fourteenth Amendment on the jurisdiction

of state courts, so it has no impact on this case, which concerns a federal claim brought

in federal court.




                                             1
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 15 of 73




                               ISSUES PRESENTED

      This appeal is mainly about whether the trial court abused its discretion in how

it manages its case and whether it committed clear error with respect to any factual

findings.

      Appellant has articulated four issues for this appeal. App. Brief, p. 15. Appellees

disagree with the way Appellant has articulated Issue Nos. 1 and 4, as follows.

   1. The first issue concerns the certification process for FLSA collective actions. If

      it is to be considered by this Court, then it should be rephrased as:

            “Should this Court disregard a district court’s discretion in how it
            manages its cases regarding the FLSA collective action process,
            overturn its own decision in Campbell, and adopt the Fifth Circuit’s
            Swales standard?”

   4. The fourth issue is whether the arbitration agreement can be enforced for Dylan

      Basch even though the District Court made a factual finding that he voided it.

      The proper question should be:

            “Did the District Court commit clear error when making a factual
            determination that Basch appropriately voided the arbitration
            agreement?”




                                           2
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 16 of 73




                             STANDARD OF REVIEW

      The standard of review as articulated by Appellant needs to be corrected.

      Appellees agree that conclusions of law and mixed questions of law and fact are

reviewed under a de novo standard; however, any findings of fact made by a district

court are reviewed under a “clear error” standard. Fed. Trade Comm’n v. Qualcomm

Inc., 969 F.3d 974, 993 (9th Cir. 2020).

      A district court’s case management decisions are reviewed under an “abuse of

discretion” standard. Davidson v. O’Reilly Auto Enters., LLC, 968 F.3d 955, 963 (9th

Cir. 2020). Such deferential decisions must be affirmed unless the decision was

“‘illogical, implausible, or without support in inferences that may be drawn from facts

in the record.’” Id. (citing United States v. Hinkson, 585 F.3d 1247, 1264 (9th Cir.

2009) (en banc)).

      Finally, although a decision to deny a motion to compel arbitration is reviewed

de novo, “findings of fact underlying the district court’s decision” are reviewed for

“clear error.” Lopez v. Aircraft Serv. Int’l, No. 23-55015, 2024 U.S. App. LEXIS

17784, *5 (9th Cir. July 19, 2024) (citing Bielski v. Coinbase, Inc., 87 F.4th 1003, 1008

(9th Cir. 2023)). Therefore, factual findings concerning Basch’s voiding of the

arbitration agreement must be reviewed under the “clear error” standard.




                                           3
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 17 of 73




                          STATEMENT OF THE CASE

I.    Introduction

      As among the lowest-paid jobs, “restaurant servers have three times the poverty

rate and use food stamps at double the rate of the rest of the U.S. workforce.” 1. The

statistics are worse for minorities working in the restaurant industry. 2 About 40% of

restaurant workers are under the age of 25, compared to 13% of the total labor force. 3

Such positions are also ripe for the use of force, fraud, and coercion to intimidate

workers. 4

      The Fair Labor Standards Act requires employers to pay their employees at least

minimum wage for all hours they work. Section 3(m) of the FLSA allows certain

employers to take a credit on the wages they must pay for certain occupations where

employees receive tips from customers. See 29 U.S.C. § 203(m). In the restaurant

industry, this is a common payment scheme for food server employees. If administered


1
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workers.
3
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brief-restaurant-employee-demographics.pdf.
4
 See Restaurants/Food Service, NAT. HUMAN TRAFFICKING                        HOTLINE,
https://humantraffickinghotline.org/en/labor-trafficking-
venuesindustries/restaurantsfood-service (last visited Aug. 27, 2024)
                                          4
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 18 of 73




properly, the employee receives tips for servicing and interacting with paying

customers, and the employer benefits via customer satisfaction, repeat business, and

saving on wage/labor expenses because it can pay the employee as little as $2.13/hour,

saving $5.12/hour in wages (and sometimes more if a state with a higher minimum

wage allows a larger tip-credit). For a large nationwide employer like Appellant

Cracker Barrel, which has over 70,000 employees at any given time, the money it saves

by trying to use the tip-credit payment scheme is astronomical. In its opening brief,

Appellant notes that the scope of potential opt-in plaintiffs may cover up to 150,000

servers that it employed during the relevant time period. Taking a conservative estimate

of 50,000 servers working each year at just 30 hours per week, being paid $5.12/hour

less than the applicable minimum wage, Cracker Barrel saves $7,680,000 per week in

wage costs, or $400 million per year.

      But to use the tip-credit payment scheme, there are rules by which restaurant

employers must abide. Servers cannot spend time working in other occupations at a

tip-credit rate or, alternatively, more than 20% of their work time or more than 30

continuous minutes performing non-tipped work. 5 Also, employers are required to

provide notice to their servers about the tip-credit rules before applying the scheme. 29




5
 29 C.F.R. § 531.56(f); Marsh v. J. Alexander’s, LLC, 905 F.3d 610, 626-28 (9th Cir.
2018).
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        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 19 of 73




U.S.C. § 203(m)(2)(A)(ii). Finally, as with all hourly workers, employers cannot

require their employees to work off-the-clock.

      Combining Cracker Barrel’s financial incentive with the servers’ vulnerabilities

and youth provides the optimal opportunity for Appellant to disregard the tip-credit

requirements. This case concerns Appellant violating the three rules referenced above

on a nationwide basis.

II.   Factual and Procedural Background

      A.    Appellant waives service of summons

      On May 28, 2021, this case was initiated under the FLSA as a proposed

collective action. ECF 1; 6 29 U.S.C. §§ 206, 216. The four named plaintiffs at that time

had worked for Appellant in Arizona, South Carolina, North Carolina, and

Pennsylvania, respectively. That same day, 112 additional plaintiffs from around the

country filed opt-in forms. ECF 3. A waiver of service of summons was delivered to

Appellant’s attorney, which was signed and filed with the court on June 17, 2021. SER-

117. Accordingly, Appellant waived any alleged defects in service.




6
    All assertions regarding matters in the record are supported by
citation to the ER or SER. Pursuant to Rule 28-2.8, assertions regarding
undisputed facts offered only for general background are not included in
the ER or SER. For the Court’s convenience, these assertions are cited using
the district court ECF number.
                                           6
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 20 of 73




      B.     First Motion to Dismiss and Motion for Conditional Certification

      Appellees filed a motion for conditional certification on June 22, 2021,

providing evidence from plaintiffs in several states articulating Appellant’s violations

of the FLSA. ECF 8. By then, there were about 200 opt-in plaintiffs from 30 states who

had joined the lawsuit. Id., p. 8. Dozens of additional plaintiffs from around the country

continued to opt into the lawsuit and provide declarations describing Appellant’s illegal

pay practices. ECF 10-11, 15-20, 22, 25.

      On August 6, 2021, after appearing generally, Appellant filed a Motion to

Dismiss and Compel Arbitration. ECF 21. It did not file a motion under Rule 12(b)(2)

or otherwise challenge jurisdiction. Instead, Appellant provided substantive evidence

relating to the four named plaintiffs (three of whom resided outside of Arizona),

arguing they should be compelled to arbitration. Appellant did not seek to compel any

of the opt-in plaintiffs into arbitration. It also sought to apply Arizona substantive state

law to enforce the arbitration agreements for the three out-of-state named plaintiffs.

ECF 21, pp. 9-10.

      Appellees responded on August 27, 2021. ECF 29. Of relevance to this appeal,

it was noted there were two opt-in plaintiffs – Andrew Harrington and Shaena Webster

– who were minors when they may have signed an arbitration agreement but had since

voided it. Id., p. 17, SER-97-98. These two opt-in plaintiffs were in Ohio and Kentucky,




                                             7
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 21 of 73




respectively. Id. Although Appellant opposed the motion for conditional certification

(ECF 32), it still did not challenge personal jurisdiction for any out-of-state plaintiffs.

      The District Court issued a ruling on November 12, 2021, primarily finding that

the arbitration agreement at issue at that time was substantively enforceable under

Arizona law and that the four named plaintiffs – including the three out-of-state

plaintiffs 7 – were subject to arbitration. 8 ER-45-54. It also found that “at least a few of

the opt-in Plaintiffs are not subject to” arbitration, noting that Harrington and Webster

– both out-of-state – had properly voided the agreement they had signed as minors. 9

ER-47. Therefore, the trial court dismissed the Original Complaint, ordered the four

original named plaintiffs to arbitration, and permitted Appellees to file an amended

complaint. ER-54.




7
  The District Court also applied Arizona law when evaluating the agreements entered
into by the three out-of-state named plaintiffs. So it is undisputed that Appellant
purposely availed itself to the privileges of conducting activities in Arizona, as it
invoked the “benefits and protections” of the state’s laws for out-of-state employees.
See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985).
8
  There are two arbitration agreements. The original one that was created in 2015, and
another created in November 2019. SER-34-38, 82-86. The District Court only
evaluated the 2015 contract for enforceability, under Arizona law and as it relates to
the four original named plaintiffs.
9
 Harrington was 21 years old when he voided his agreement, and Webster was 22 years
old. ECF 29-2; ER-47. They both voided the agreements three and four years,
respectively, after reaching the age of majority.
                                             8
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 22 of 73




        C.       Amended Complaint and Amended Motion for Conditional
                 Certification

        Appellees then filed a First Amended Complaint with new named plaintiffs

Andrew Harrington, Katie Liammaytry, and Jason Lenchert, who were in Ohio, North

Carolina, and Florida, respectively. ECF 57. They had already joined the lawsuit as

opt-in plaintiffs 10 before Appellant filed its initial motion to dismiss. They simply

became the new named plaintiffs. As referenced above, Harrington had voided the

ADR agreement. Liammaytry and Lenchert never signed the ADR agreement.

Appellees also filed an amended motion for conditional certification. ECF 58.

        On March 9, 2022, Appellant filed a motion to dismiss, arguing that personal

jurisdiction did not exist because none of the new named plaintiffs worked in Arizona.

ECF 62. Appellees argued that personal jurisdiction did exist because Appellant

waived this defense, as the three new named plaintiffs were already part of the lawsuit

when Appellant filed its motion to dismiss, and it had not raised such a defense at that

time. ECF 71, pp. 4-10; see Campbell v. City of Los Angeles, 903 F.3d 1090, 1099 (9th

Cir. 2018) (“Opt-in plaintiffs are parties to the collective action[.]”); Jones v. Medtronic

Inc., 411 F. Supp. 3d 521, 529 (D. Ariz. 2019) (“A party waives the defense of lack of

personal jurisdiction if the defense is not asserted in its first motion to dismiss.”).




10
     ECF 3, 5.
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         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 23 of 73




Furthermore, the District Court had already compelled arbitration for the three out-of-

state former named plaintiffs and confirmed two other out-of-state opt in plaintiffs were

not subject to arbitration, exercising jurisdiction over them. ECF 71, pp. 7-8. A court

must have personal jurisdiction over a plaintiff in order to rule whether that party is

subject to arbitration. See Boon Glob. Ltd. v. United States Dist. Court (In re Boon

Glob., Ltd.), 923 F.3d 643, 650 (9th Cir. 2019). Appellant even argued that such a

defense was “not available” to it when it filed its first motion to dismiss because of the

existence of an Arizona named plaintiff. ECF 72, pp. 2-4. By making this argument,

Appellant conceded that it could not have a personal jurisdiction defense when there is

an Arizona-based named plaintiff. 11

      Appellees also sought conditional certification, which Appellant opposed, and

to which Appellees replied. ECF 58, 64, 65. The arguments contained in these

pleadings articulated several disputes as to who was subject to arbitration.

      On July 22, 2022, the District Court dismissed the First Amended Complaint

contending it lacked personal jurisdiction on Appellant, as none of the new named

plaintiffs were in Arizona. ER-35. It contended that it had personal jurisdiction over

the original complaint (which did have an Arizona-based named plaintiff), but not


11
  This is essentially a concession that the Supreme Court’s BMS decision does not
apply to this case.
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        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 24 of 73




anymore under the amended complaint. It then gave Plaintiffs leave to file a second

amended complaint.

      D.    Second Amended Complaint and Second Amended Motion for
            Conditional Certification

       Appellees filed a Second Amended Complaint adding Dylan Basch, an Arizona

server who began his employment with Cracker Barrel when he was a minor, as a

named plaintiff. ECF 74. Basch submitted a declaration noting he was unaware of

entering into an arbitration agreement, but voiding any such agreement that he may

have signed while he was a minor. SER-62. Appellant filed a motion to compel Basch

to arbitration because in October 2019, seven months into his employment when he

was still 16 years old, Basch had clicked a box during an online training program

confirming he would abide by the terms of a lengthy arbitration agreement. SER-29-

30. It asked the District Court to find that Basch did not disaffirm the arbitration

agreement within a reasonable time after reaching the age of majority. But it did not

contest any of the factual statements asserted by Basch. Appellees argued that Basch’s

voidance of the ADR agreement was reasonable and timely under Arizona law, as well

as consistent with the District Court’s prior ruling that other minors had voided the

ADR agreement (where the voiding occurred 3-4 years after the age of majority). ECF

80. Appellees also noted that the District Court had previously made a ruling noting


                                         11
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 25 of 73




that it could exercise personal jurisdiction over out-of-state plaintiffs as long as a

named plaintiff was in Arizona. ER-36 (“[B]ecause the original complaint included

allegations of a Plaintiff who worked in an Arizona restaurant, the defense of lack of

personal jurisdiction was not available to Cracker Barrel when it filed its first Motion

to Dismiss.”). Appellant agreed with this ruling when seeking to dismiss the First

Amended Complaint, conceding that “it could not raise the defense of lack of personal

jurisdiction at any earlier stage of this litigation because” one of the prior named

plaintiffs resided in Arizona. ECF 62, p. 4, fn.2. 12

         Meanwhile, on August 15, 2022, Appellees filed a motion for conditional

certification, relying on this court’s Campbell standard and the District Court’s prior

rulings, as well as referencing and providing additional evidence of Appellant’s FLSA

violations. ECF 76, SER-39-56. Because of disputes as to who may be subject to

arbitration, Appellees proposed a notice that explicitly stated it was applicable to only

those who are not subject to arbitration. SER-57-61. Appellant argued that the District

Court should not exercise its discretion in how to manage the case via Campbell and,

instead, follow the Fifth Circuit standard articulated in Swales v. KLLM Transp.

Services, L.L.C., 985 F.3d 430, 441-443 (5th Cir. 2021). ECF 78. Appellant also argued



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     This statement contradicts Appellant’s representations being made to this Court.
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         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 26 of 73




that notices should not be sent to those who it believes are subject to arbitration and

should be limited to only Arizona-based potential plaintiffs. Appellees replied,

emphasizing that nationwide notice is appropriate, partly because BMS does not apply

to FLSA collective action cases, as explained by other courts, including within the

Ninth Circuit. ECF 79, pp. 6-7. Furthermore, Appellant had previously argued that the

personal jurisdiction defense was not available when the case was initiated because

there was an Arizona-based named plaintiff at that time. Id., pp. 8-9. Appellees also

argued that resolving disputes about who is subject to arbitration is an issue that is to

be decided at the second stage of the collective action process. ECF 79, pp. 4-5.

      E.     The District Court denies Appellant’s Motion to Dismiss and grants
             conditional certification

      On March 31, 2023, the District Court denied Appellant’s motion to dismiss.

ER-6-33. It found that it had personal jurisdiction over the out-of-state named plaintiffs

because of Basch’s contacts with Arizona and that Basch voiding the arbitration

agreement was reasonable, given the facts presented, and consistent with its prior

ruling. ER-10-15.

      The District Court granted conditional certification under the two-step Campbell

standard. ER-18-24. It confirmed that the disputes as to who is subject to arbitration

should be resolved at the second stage of the process, as permitted by Campbell. ER-

25-26. Therefore, it was appropriate to send the notice to all potential opt-in plaintiffs,
                                            13
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 27 of 73




regardless as to arbitration status. The District Court also declined to apply BMS to

FLSA cases and noted that the First Circuit and the majority of decisions within the

Ninth Circuit allow nationwide notice in FLSA cases. ER-26-28. Importantly, in

incorporating its prior decisions, the District Court held that limiting notice to only

Arizona-based potential plaintiffs, “would be inconsistent with the Court’s previous

findings.” ER-28.

      F.       Appellant panics

      Appellant then filed a plethora of pleadings, including two motions to stay, a

motion for reconsideration, a motion to certify interlocutory appeal under 28 U.S.C. §

1292(b), and a notice of appeal relating for the denial to compel Basch to arbitration.

ECF 83-85, 91, 96. Appellant raised four issues regarding the Court’s March 31, 2023

order for the interlocutory appeal. ECF 84.

      Of relevance to the motion for reconsideration, the District Court revisited the

scope of the putative collective and reiterated its original decision. SER-13-17. It

recognized several disputes about arbitrability, noting that those are better resolved at

the second stage of the certification process, especially considering the notice already

alerted potential opt-ins “that they can only join the action if they are not subject to

arbitration.” SER-14. It also confirmed that the “list of remaining factual issues

illustrates why the enforceability of Cracker Barrel’s Arbitration Agreement must be




                                            14
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 28 of 73




determined on a case-by-case basis” and that it “cannot possibly define which opt-in

plaintiffs are certainly subject to arbitration at this juncture.” SER-15.

      The District Court also certified for appeal two of the four issues raised by

Appellant. SER-20-22. It determined that one issue was moot and that the Campbell

certification standard did not meet the § 1292(b) requirements. SER-22-23. It

confirmed that the Campbell case controls and that Swales has no binding effect on the

Ninth Circuit. Id. But Appellant has still raised this certification standard to this Court.

                         SUMMARY OF THE ARGUMENT

      Interlocutory appeal is not appropriate – Given the procedural history of this

case, this Court should decline to exercise jurisdiction under § 1292(b). Appellant: a)

sought and obtained substantive rulings concerning out-of-state plaintiffs, thus waiving

the arguments supporting the relief it is seeking, b) waived service, c) is asking this

Court to infringe on a District Court’s discretion in how it manages its cases, and d) is

seeking to require time-consuming discovery on over tens of thousands of potential

opt-in plaintiffs prior to certification. Alternatively, the first issue raised by Appellant

is not subject for review because the District Court specifically ruled it did not meet

the § 1292(b) requirements.

      Issue No. 1 – This court should continue to follow the FLSA conditional

certification standard articulated in Campbell, allowing for the two-step process. There




                                            15
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 29 of 73




is no reason to infringe on the judicial discretion trial judges have in managing their

cases, as permitted under Campbell.

      Issue No. 2 – This court should allow notices to be sent nationwide. There is

nothing unconstitutional about applying a uniform federal law to all potential plaintiffs

nationwide. The FLSA statute allows for similarly situated plaintiffs to join the lawsuit

after jurisdiction is established with respect to a named plaintiff. Appellant was

properly served, the FLSA statute allows for representative actions, and nothing in the

text of the FLSA requires every opt-in to establish specific personal jurisdiction. The

Supreme Court’s BMS decision does not apply to FLSA collective actions. Rule 4(k)

also does not apply because it only matters for initial service, and Appellant waived

service anyway. Regardless, because Appellant sought and received rulings concerning

out-of-state plaintiffs, it cannot now seek dismissal on personal jurisdiction grounds.

Finally, if there is a concern about the location of a particular plaintiff’s case in federal

court, a defendant’s solution is through requesting a transfer of venue (28 U.S.C. §§

1404, 1406), not dismissal.

      Issue No. 3 – The District Court only found that the original four named plaintiffs

were subject to arbitration. Appellant even admitted to this. ECF 66, p. 2. There are

many disputes as to who is subject to arbitration. These disputes are to be resolved at

the second stage of the conditional certification process, as allowed by Campbell and

the trial judge’s discretion in managing the case. It would be inefficient, a waste of


                                             16
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 30 of 73




judicial resources, and a significant burden on the District Court and the parties to

engage in an extraordinary amount of discovery to resolve arbitrability disputes prior

to sending notices, especially considering the court-approved notice already states that

it only applies to those servers who are not subject to arbitration.

      Issue No. 4 – There is no clear error in the District Court’s factual finding that

Basch’s voidance of the arbitration agreement was reasonable, given the fact-specific

circumstances in this case. Appellant did not provide evidence that contradicted

Basch’s declaration or otherwise provide any facts that suggest the District Court

committed clear error. Also, considering the District Court’s prior ruling (accepted by

Appellant) that two other former minors had acted reasonably in voiding the arbitration

agreement in situations where more time had passed compared to Basch, the “law of

the case” doctrine prohibits a different result.

                                     ARGUMENT

I.    This Court should not exercise jurisdiction under 28 U.S.C. § 1292(b)

      Although the motions panel granted interlocutory appeal, this Court has an

independent obligation to confirm that it has jurisdiction under 28 U.S.C. § 1292(b).

Wilkinson v. Facebook, Inc., 2024 U.S. App. LEXIS 12163, *24-25 (9th Cir. May 21,

2024) (citing ICTSI Oregon, Inc. v. Int’l Longshore & Warehouse Union, 22 F.4th

1125, 1130-31 (9th Cir. 2022)).




                                            17
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 31 of 73




      The overarching issue presented by Appellant concerns a district court’s

discretionary decision in its rulings on conditional certification. An order granting

collective action status does not present a controlling question of law. Blackie v.

Barrack, 524 F.2d 891, 898, n.13 (9th Cir. 1975); Lillehagen v. Alorica, Inc., 2014 U.S.

Dist. LEXIS 67963, *5-7 (C.D. Cal. May 15, 2014). All the District Court is doing is

approving a notice to be distributed to potential plaintiffs who have not yet joined the

lawsuit. The Supreme Court has noted that “[t]he sole consequence of conditional

certification is the sending of court-approved written notice to employees.” Genesis

HealthCare Corp. v. Symczyk, 569 U.S. 66, 75 (2013).

      Furthermore, resolving disputes as to who is subject to arbitration prior to

conditional certification will not “materially advance the ultimate termination of the

litigation” because that would require conducting discovery regarding tens of

thousands of servers prior to sending out notices. Instead, this is a matter for the second

stage of conditional certification process. Considering opt-in rates for FLSA collective

actions are usually around 15% – 20%, and the notice already states it applies to those

who are not subject to arbitration, the scope of discovery on arbitrability at the second

stage will be minimal compared to Appellant’s proposal.

      Another reason to reject interlocutory appeal here is because this Court’s

decision may ultimately be an advisory opinion. This is for two reasons. First,

Appellant waived its right to raise the personal jurisdiction defense when it did not


                                            18
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 32 of 73




raise such an argument in its first motion to dismiss (ECF 21) and, instead, chose to

have the District Court adjudicate the merits of the enforceability of the initially named

out-of-state plaintiffs’ arbitration agreements. 13 See Ins. Corp. of Ireland, Ltd. v.

Compagnie des Bauxites de Guinee, 456 U.S. 694, 703-05 (1982); Boon Glob, 923

F.3d at 650; Jones v. Medtronic Inc., 411 F. Supp. 3d 521, 529 (D. Ariz. 2019) (“A

party waives the defense of lack of personal jurisdiction if the defense is not asserted

in its first motion to dismiss.”); Henrietta Mine LLC v. A.M. King Idus., No. cv-20-

01106-PHX-SMB, 2021 U.S. Dist. LEXIS 2391, *5-7 (D. Ariz. Jan. 7, 2021)

(discussing waiver of personal jurisdiction arguments). It even utilized Arizona law to

argue three named out-of-state plaintiffs’ arbitration agreements were enforceable,

directly invoking the privileges of doing business in Arizona. Burger King Corp, 471

U.S. at 474-76. Such consent would negate the need to even conduct a minimum

contacts analysis. See Repwest Ins. Co. v. Praetorian Ins. Co., 890 F. Supp. 2d 1168,

1185 (D. Ariz. 2012) (Minimum contacts with the forum state is not a requirement if

the defendant has consented to jurisdiction.).

         Appellant previously argued that the defense was not available because they

could only seek to dismiss named plaintiffs and not opt-in plaintiffs. ECF 72, p. 3. But

that is not correct because opt-in plaintiffs are to be treated as party plaintiffs. In fact,

the defendants in other cases that are relevant to the issues raised in this appeal did


13
     Appellees recognize that the District Court disagreed with Appellees. SER-74-77.
                                             19
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 33 of 73




timely file motions for dismissal on personal jurisdiction grounds with respect to out-

of-state opt-in plaintiffs. See Canaday v. Anthem Cos., 439 F. Supp. 3d 1042, 1050

(W.D. Tenn. 2020); aff’d 9 F.4th 392, 405 (6th Cir. 2021) (defendant prevailing on a

motion to dismiss out-of-state opt-in plaintiffs for personal jurisdiction reasons, which

was affirmed by the Sixth Circuit); Waters v. Day & Zimmerman NPS, Inc., 464 F.

Supp. 3d 455, 456 (D. Mass. 2020), aff’d 23 F.4th 84 (1st Cir. 2022) (although denied,

the defendant timely filed a motion to dismiss out-of-state opt-in plaintiffs under Rule

12(b)(2)).

      Second, Appellant should be judicially estopped from arguing that there is no

personal jurisdiction. It acknowledged the defense was “not available” when it filed its

first motion to dismiss because of the existence of an Arizona named plaintiff. ECF 62,

p. 4, fn. 2 14; ECF 72, pp. 2-4. There currently exists an Arizona named plaintiff (Basch).

      Finally, and in the alternative, although an entire order may normally be

reviewed for interlocutory appeal, the District Court specifically ruled that the first

issue (regarding the Campbell certification standard) did not meet the § 1292(b)

requirements. SER-22-23. The Fourth Circuit recently rejected a similar request to try

to adopt the Swales standard. See Cronin v. Bank of Am. Corp., C.A. No. 3:23-cv-


14
  Appellant stated: “Defendant wishes to note, as a threshold matter, that it could not
raise the defense of lack of personal jurisdiction at any earlier stage of this litigation
because, prior to the filing of the First Amended Complaint, one named Plaintiff, Ms.
Gillespie, resided in Arizona and/or was at least asserting a claim arising out of work
performed for Cracker Barrel in Arizona.”
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        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 34 of 73




00813-KDB-DCK, 2024 U.S. Dist. LEXIS 138599, *2-4 (W.D.N.C. Aug. 5, 2024)

(rejecting interlocutory appeal regarding the FLSA conditional certification standard

and discussing the Fourth Circuit’s handling of a similar request in 2022). Therefore,

revisiting the Campbell conditional certification standard is not appropriate for

consideration by this Court.

II.   There is no reason to overturn Campbell or infringe on a district court’s
      discretion as to how it manages its cases

      Appellant’s first issue concerns the conditional certification standard. Appellant

Brief, pp. 29-46. Should this Court disregard a district court’s discretion in how it

manages its cases regarding the FLSA collective action process, overturn its own

decision in Campbell, and adopt the Fifth Circuit’s Swales standard? No.

      Campbell provides for a lenient, discretionary case-management standard to

certify a collective action so that a court-approved notice may be sent to putative

collective action members. Campbell, 903 F.3d at 1109-10. Appellees met this

standard, filing dozens of declarations from servers who worked for Appellant in about

30 states explaining the same FLSA violations occurring in its stores around the

country (SER-42-48, 51-56; ECF 8, 15, 58, 76), an affidavit from a former corporate-

level employee articulating Appellant’s disregard of the FLSA (SER-39-41), a

universally applied “side-work” chart that lists server job duties that are prohibited

under the tip-credit payment scheme (SER-49-50), and photographs of examples of

violations (SER-63-72).
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        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 35 of 73




      This Court addressed the certification standard in detail in 2018. Campbell, 903

F.3d at 1110-16. The two-step process is this Circuit’s standard and precedent. See

Tijerino v. Stetson Desert Project, LLC, 934 F.3d 968, 976 (9th Cir. 2019). As “the

proper means of managing a collective action,” this is a “case management” issue and

“thus a subject of substantial judicial discretion.” Campbell, 903 F.3d at 1110.

Appellant is wrong to say that this standard is “outdated.” District courts within the

Ninth Circuit regularly rely on this standard, including several recent decisions. See,

e.g., Holifield v. NexusCw, Inc., 2024 U.S. Dist. LEXIS 149038, *15-24 (S.D. Cal.

Aug. 20, 2024); Dunne v. Quantum Residential Inc., 2024 U.S. Dist. LEXIS 108285,

*11-12 (W.D. Wash. June 18, 2024); Terry v. Hodges, 2024 U.S. Dist. LEXIS 4330,

*2-4 (D. Or. Jan. 9, 2024); Harris v. Diamond Dolls of Nev., LLC, 2023 U.S. Dist.

LEXIS 219674, *2-5 (D. Nev. Dec. 11, 2023); Richter v. Autozoners, LLC, 2023 U.S.

Dist. LEXIS 200161, *7-8 (D. Mont. Nov. 7, 2023)).

      Other circuits also follow the same two-step process. See Waters, 23 F.4th at 89;

Scott v. Chipotle Mexican Grill, Inc., 954 F.3d 502, 515-20 (2d Cir. 2020); Halle v.

West Penn Allegheny Health Sys., 842 F.3d 215, 223-26 (3d Cir. 2016); Thiessen v.

General Electric Capital Corp., 267 F.3d 1095, 1102-05 (10th Cir. 2001); Wright v.

Waste Pro USA, Inc., 69 F.4th 1332, 1339 (11th Cir. 2023).

      Courts around the country have acknowledged the Swales decision but rejected

its reasoning, sticking with the two-step approach. See, e.g., Thornton v. Tyson Foods,


                                          22
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 36 of 73




Inc., 683 F. Supp. 3d 885, 888-90 (W.D. Ark. 2023); Midkiff v. Anthem Co., Inc., 640

F. Supp. 3d 486, 492-93 (E.D. Va. 2022) (referencing the standard applied by district

courts within the Fourth Circuit); Rivera v. CHSPSC, LLC, C.A. No. 2:23-cv-00336-

KWR-KK, 2024 U.S. Dist. LEXIS 130118, *9 (D. N.M. July 23, 2024); Johnson v.

Lazer Spot, Inc., C.A. No. 1:22-cv-1852-MHC, 2024 U.S. Dist. LEXIS 11865, *15, n.5

(N.D. Ga. Jan. 19, 2024).

       Even the Fifth Circuit, when addressing Swales, has acknowledged “there is no

one-size-fits-all analysis or mechanical test to apply: ‘The bottom line is that the district

court has broad, litigation-management discretion,’ ‘cabined by the FLSA’s ‘similarly

situated’ requirement.’” Loy v. Rehab Synergies, L.L.C., 71 F.4th 329, 337 (5th Cir.

2023); see also Brixey v. McAdoo’s Seafood Co., LLC, C.A. No. SA-23-cv-00232-

DAE; 2024 U.S. Dist. LEXIS 1467, *4-5 (W.D. Tex. Jan. 2, 2024) (certifying a

collective action in a tip-credit violation case and stating “the Fifth Circuit has

approved the continued consideration of the Lusardi factors by district courts faced

with a motion for FLSA notice”). Appellant has not shown that a different outcome

would be reached even if the Fifth Circuit standard is applied.

       Appellant also references Twombly/Iqbal in support of its position to suggest the

hundreds of opt-in plaintiffs who joined this lawsuit are creating some sort of “in

terrorem” settlement pressure by threatening expensive discovery. Appellant Brief, pp.

37-38. That is not correct. It is Appellant that is asking this Court to: a) create a standard


                                             23
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 37 of 73




that requires the parties to first conduct discovery on tens of thousands of plaintiffs

pre-certification, instead of a small fraction of that after the opt-in period; b) disregard

the substantial evidence presented of its uniform nationwide illegal pay practices; and

c) disregard the financial incentive it has to get away with violating the tip-credit

scheme on a large-scale nationwide basis. Regardless, there is no evidence in the record

to suggest the District Court abused its discretion. Finally, if there were any problems

with the complaint, Appellant could have filed a 12(b) motion under Twombly/Iqbal.

It did not do so.

       Appellant also attempts to rely on Encino Motorcars, LLC v. Navarro, 584 U.S.

79 (2018) to contend that Campbell – which came out after Encino – conflicts with the

Supreme Court’s analysis. Encino essentially says that courts must give the FLSA a

“fair reading” instead of “construed narrowly.” Id. at 88-89. Campbell does not conflict

with Encino. Therefore, this Court should reject Appellant’s proposal.

III.   BMS does not apply and nationwide notice is appropriate

       The second issue raised by Appellant is whether the Supreme Court’s BMS

decision (Bristol-Myers Squibb Co. v. Superior Ct. of Cal., 137 S. Ct. 1773, 582 U.S.

255 (2017)) applies to FLSA collective actions such that only servers in Arizona should

be provided notice, instead of all servers nationwide subjected to the same FLSA

violations. Appellant Brief, pp. 46-61. Appellant argues that the Supreme Court’s BMS

decision prevents the District Court from asserting jurisdiction over out-of-state


                                            24
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 38 of 73




plaintiffs. The District Court declined to extend BMS to FLSA collective actions,

tracking the First Circuit (in Waters) and several district courts within the Ninth Circuit.

ER-27-28.

         As discussed below, the reasons Appellant is wrong, along with the circuits

applying BMS to FLSA collective actions, is primarily because those arguments and

decisions lie upon: (1) misconstruing the phrases “representative” action and “mass

action;” and (2) contending that Rule 4(k) applies to such claims. Ultimately, a court

need only have personal jurisdiction over a representative employee plaintiff.

         A.    The BMS decision

         BMS – which arose via an appeal from the California Supreme Court based on

the defendant quashing service of summons with respect to the out-of-state plaintiffs 15

– held that the Fourteenth Amendment prevented state courts from considering state-

law mass actions for out-of-state plaintiffs with no connection to the forum state.

Bristol-Myers, 582 U.S. at 261-69. BMS involved eight separate complaints brought by

86 California residents and 592 non-residents regarding their use of the prescription

drug Plavix. All 592 nonresident plaintiffs – having no ties to California – alleged 13

causes of action under California state law. 16 Bristol-Myers, 582 U.S. at 259. The

Supreme Court’s decision concerned principles of interstate sovereignty and a state’s


15
   Bristol-Myers Squibb Co., 1 Cal. 5th 783, 790, 377 P.3d 874, 878-79 (Cal. 2016)
(subsequent history omitted)
16
     BMS was not a representative action.
                                            25
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 39 of 73




“power to render a valid judgment” over out-of-state defendants. Id. at 263 (citing

World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 293 (1980)). The limitations

in BMS were later reiterated by the Supreme Court. Ford Motor Co. v. Mont. Eighth

Judicial Distr. Ct., 592 U.S. 351, 369 (2021) (“We found jurisdiction improper in

[BMS] because the forum State, and the defendant’s activities there, lacked any

connection to the plaintiffs’ claims.”). BMS explicitly stated that its holding does not

address “restrictions on the exercise of personal jurisdiction by a federal court.” Id. at

269.

       B.    The purpose and history of the FLSA

       Because cases that apply BMS to FLSA claims rely on incorrect historical

interpretations of Section 216(b), a brief history of the law is warranted.

       The FLSA was enacted to combat unfair wage and hour practices experienced

throughout the country during the Great Depression. See 29 U.S.C. § 202(a). The stated

purpose of the Act is to “correct and as rapidly as practicable” those conditions “in such

industries without substantially curtailing employment or earning power.” 29 U.S.C.

§ 202(b). “Congress’ purpose in authorizing § 216(b) class actions was to avoid

multiple lawsuits where numerous employees have allegedly been harmed by a claimed

violation or violations of the FLSA by a particular employer.” Prickett v. Dekalb

County, 349 F.3d 1294, 1297 (11th Cir. 2003).


                                           26
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 40 of 73




      For over 70 years, the FLSA has been interpreted to allow for nationwide

collective actions. Section 216(b) has been revised by Congress on several occasions

during that time, yet Congress has never seen fit to foreclose the nationwide FLSA

action. See Bragdon v. Abbott, 524 U.S. 624, 645 (1998) (if courts interpret a statutory

provision in a certain manner, and Congress continues to use the same verbiage, it is

assumed they meant to adopt the judicial or administrative interpretation of that

provision). Indeed, courts approving collective actions during these decades did not

exclude opt-in plaintiffs solely because they worked in another state.

      C.     Portal-to-Portal Act

      FLSA collective action claims have always been representative actions. The only

significant curtailment to the representative nature of FLSA actions came in the Portal-

to-Portal Act. As Senator Donnell noted in March 18, 1947, non-plaintiff union

representatives or agents at the time were allowed to bring FLSA claims on behalf of

the employee plaintiffs, sometimes without even getting their permission to do so. This

led to the “unwholesome” prospect of “champertous situations” wherein a non-plaintiff

or non-employee union “representative” could file a collective action. 93 Cong. Rec.

538, 2182 (1947). Senator Donnell defined this as a “representative action.” Id. In

contrast, there was no problem if an employee plaintiff brought a claim on behalf of

himself and others similarly situated, which was defined as a “collective action.” Id.
                                          27
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 41 of 73




Those “representative” actions (i.e., those brought by non-plaintiffs), not collective

actions (i.e., those brought by a representative plaintiff), was what the Portal-to-Portal

Act was meant to forbid. See Canaday., 9 F.4th at 413 (Donald, J., dissenting); Knepper

v. Rite Aid Corp., 675 F.3d 249, 257 (3d Cir. 2012) (“[T]he enforcement scheme in the

Portal-to-Portal Act largely codified the existing rules governing spurious class actions,

with special provisions intended to redress the problem of representative actions

brought by unions under earlier provisions of the FLSA and the problem of ‘one-way’

intervention.”); Vanegas v. Signet Builders, Inc., No. 23-2964, 2024 U.S. App. LEXIS

20780, *30 (7th Cir. Aug. 16, 2024) (Rovner, J. dissenting)

       As relevant here, all the Act did was to require the actual plaintiffs to represent

the class and opt-in plaintiffs by changing the language to more accurately refer to

“employees” rather than their “representatives.” Hoffmann-La Roche v. Sperling, 493

U.S. 165, 173 (1989) 17. The Supreme Court explicitly rejected the notion that the FLSA




17
   Compare Fair Labor Standards Act of 1938 (1938), at § 16(b) (“Action to recover
such liability may be maintained in any court of competent jurisdiction by any one or
more employees for and in behalf of himself or themselves and other employees
similarly situated, or such employee or employees may designate an agent or
representative to maintain such action for and in behalf of all employees similarly
situated.”) (emphasis added) with Fair Labor Standards Act of 1938 (2024), at § 216(b)
(“No employee shall be a party plaintiff to any such action unless he gives his consent
in writing to become such a party and such consent is filed in the court in which such
action is brought.”).
                                           28
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 42 of 73




was intended to relieve employers of “multiparty actions,” noting that the Portal-to-

Portal Act left intact the ability for employees to bring collective actions in their own

right, and on behalf of those of “similarly situated” employees, which freed “employers

of the burden of representative actions.” Id. at 173. This, combined with Congress’s

stated intent that the FLSA remedy harmful pay practices affecting interstate

commerce, shows Congress’ intent that the FLSA allows for nationwide collective

action suits.

      D.        The text of Section 216(b) shows collective actions are representative
                actions.

      The cause of action here is based on the FLSA, a federal law that applies in all

states and contains the following language:

      An action to recover the liability prescribed in the preceding sentences
      may be maintained against any employer (including a public agency) in
      any Federal or State court of competent jurisdiction by any one or
      more employees for and in behalf of himself or themselves and
      other employees similarly situated.

29 U.S.C. § 216(b).

      Section 216(b) allows for a representative named plaintiff to “maintain” an

action in a court of “competent jurisdiction,” which can in turn decide the named

plaintiff’s case, as well as those who are “similarly situated.” To “maintain” a suit

means to initially bring a suit. Breuer v. Jim's Concrete of Brevard, Inc., 538 U.S. 691,

695 (2003). The term “competent jurisdiction” does not apply to the opt-in parties by

                                           29
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 43 of 73




the plain text of Section 216(b). The only requirement for such parties is that they be

“similarly situated.” While the term “competent jurisdiction” generally means one with

subject matter jurisdiction, the Supreme Court has noted that the phrase sometimes

refers to a court with both subject matter jurisdiction and personal jurisdiction.

Lightfoot v. Cendant Mortg. Corp., 580 U.S. 82, 95 (2017). The latter interpretation

applies to Section 216(b). A court of “competent jurisdiction” was understood at the

time of the FLSA’s original enactment to be one with personal and subject matter

jurisdiction. Clark v. Wells, 203 U.S. 164, 171 (1903).

      So, if the Court were to agree with Appellant’s argument, the result would be

potential opt-in plaintiffs (who, by definition, are similarly situated to a named

plaintiff) would become barred from joining a collective action simply because he/she

is in another state. The only recourse for that plaintiff would be to file a new and

separate case, as a named plaintiff, in the other state. Such a requirement would negate

the benefit of the opt-in provision provided by section 216(b) for this potential plaintiff

and would result in a hydra of litigation across the country. The FLSA was not intended

to create such a scenario, especially considering there was a single case already

pending.

      Accordingly, the text of Section 216(b) permits an employee to bring an action

for and on behalf of those other similarly situated employees. While the court in which

the representative employee brings the suit must have personal and subject matter
                                            30
          Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 44 of 73




jurisdiction over the representative employee, Section 216(b) has no such requirement

for the opt-in employee plaintiffs.

       E.     Courts have interpreted section 216(b) claims to be representative
              actions

       This Circuit’s jurisprudence shows FLSA claims are treated as representative

actions. Smith v. T-Mobile USA, Inc., 570 F.3d 1119, 1122 (9th Cir. 2009) (refusing to

certify an FLSA collective because the named plaintiffs had no standing to bring the

claim after settling their own, individual claims and therefore had no “legally

cognizable interest in the outcome”); Ortiz v. True Food Kitchen Holdings, LLC, No.

CV-22-01821-PHX-DGC, 2023 U.S. Dist. LEXIS 51812, *10 (D. Ariz. Mar. 27, 2023)

(same).

       The personal jurisdiction inquiry must occur “at the level of the suit, not at the

level of any particular claim or party.” See Canaday, 9 F.4th at 408 (Donald, J.,

dissenting). “An FLSA collective action is designed to be a single lawsuit throughout

the entire litigation process. The singularity of the lawsuit does not change simply

because new plaintiffs with the same or similar claims as to the named plaintiff might

join the collective at a later time.” Id.

       While it is true this Court held in Campbell that opt-in plaintiffs are “party

plaintiffs,” that does not give them the right to amend the operative complaint, file their

own motion for summary judgment, or make any other material decision concerning


                                            31
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 45 of 73




the direction of the case. See 7B Wright & Miller, FED. PRAC. & PROC. CIV. § 1807

n.14 (3d ed.) (“[T]he section 216 plaintiff does not formally appear before the court or

file a pleading; he simply files his written consent. Once the consent is filed, the section

216 action is maintained by the named plaintiffs ‘for and in behalf of’ the person who

has consented.” (citation omitted) (cleaned up)); Prickett, 349 F.3d at 1297

(“[P]laintiffs do not opt-in or consent to join an action as to specific claims, but as to

the action as a whole.”). Section “216(b)’s affirmative permission for employees to

proceed on behalf of those similarly situated must grant the court the requisite

procedural authority to manage the process of joining multiple parties in a manner that

is orderly, sensible, and not otherwise contrary to statutory commands or the provisions

of the Federal Rules of Civil Procedure.” Hoffman-La Roche, 493 U.S. at 170. Courts

only look to the opt-in plaintiffs when, for whatever reason, the named plaintiffs no

longer represent the class. See Campbell, 903 F.3d at 1099 (permitting the opt-in

plaintiffs to appeal decertification despite the named plaintiffs settling separately). If

no opt-in plaintiff were capable of establishing personal jurisdiction absent the original

named plaintiffs in this scenario (and no waiver had occurred), a court would

presumably consider transferring venue to another federal court under 28 U.S.C. §

1404.




                                            32
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 46 of 73




      F.       The First Circuit Waters decision

      The First Circuit correctly declined to apply BMS to Section 216(b) claims in

Waters v. Day & Zimmerman, 23 F.4th 84 (1st Cir. 2022). Waters – in affirming the

lower court’s decision to send notices nationwide – determined that the Fifth

Amendment, not the Fourteenth Amendment, applies to FLSA claims, because Rule

4(k) does not define the bounds of personal jurisdiction in federal court concerning a

federal case. Id. at 92-94. The “Fourteenth Amendment does not directly limit a federal

court’s jurisdiction over federal-law claims.” Id. at 92. “[T]he ‘constitutional limits’ of

a federal court’s jurisdiction over federal-law claims ‘are drawn in the first instance

with reference to the [Due Process Clause of the Fifth Amendment].’” Waters, 23 F.4th

at 92 (citing Lorelei Corp. v. County of Guadalupe, 940 F.2d 717, 719 (1st Cir. 1991)).

“The Fifth Amendment does not bar an out-of-state plaintiff from suing to enforce their

rights under a federal statute in federal court if the defendant maintained the ‘requisite

minimum contacts’ with the United States.” Id. The First Circuit directly rejected the

Sixth and Eighth Circuits’ analyses in Canaday and Vallone. Id. at 97-99.

      G.       Rule 4(k) does not apply.

      Appellant waived service of process. SER-117. So, this discussion should be

moot. 18 But even if it had not waived service, Section 216(b) does not require Rule 4(k)


18
  Also, in BMS, the defendant originally “moved to quash service of summons on the
nonresidents’ claims.” Bristol-Myers, 582 U.S. at 259. Had it not done so, it would
have likely waived the argument that eventually made it to the Supreme Court.
                                            33
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 47 of 73




service for opt-in plaintiffs nor new complaints to be served. Instead, Section 216(b)

allows for similarly situated opt-in plaintiffs to simply file their written consent with

the district court. This is a non-discretionary right authorized by the statute because it

is a representative action. See, e.g., Ortiz, 2023 U.S. Dist. LEXIS 51812, at *9 (“[T]he

fact remains that a collective action under the FLSA is a representative action. The

named plaintiff sues on behalf of all others.”).

      Rule 4, titled “Summons,” and more specifically Rule 4(k), titled “Territorial

Limits of Effective Service,” are only concerned about service and establishing

jurisdiction at the time of service, not as employees opt-in. If the drafters of Section

216(b) wanted Rule 4(k) to apply to FLSA opt-in plaintiffs, they would not have

allowed such plaintiffs to join simply by filing opt-in forms. Waters, 23 F.4th at 94.

Once service is properly achieved, Rule 4(k) is of no consequence. Id. at 96. There is

nothing in Rule 4 that suggests it “constrains a federal court’s power to act once a

summons has been properly served.” Also, Rule 82 directly states the “rules do not

extend or limit the jurisdiction of the district courts or the venue of actions in those

courts.” FED. R. CIV. P. 82. So Rule 4(k) cannot limit federal court jurisdiction.

      H.     The circuits applying BMS to Section 216(b) claims are wrong.

      The Third, Sixth, Seventh, and Eighth Circuits have applied BMS to FLSA

actions in order to limit the federal courts’ jurisdiction. See Vanegas v. Signet Builders,


                                            34
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 48 of 73




Inc., 2024 U.S. App. LEXIS 20780 (7th Cir. Aug. 16, 2024); Fischer v. Fed. Express

Corp., 42 F.4th 366 (3d Cir. 2022); Vallone v. CJS Sols. Grp., LLC, 9 F.4th 861 (8th

Cir. 2021); Canaday, 9 F.4th at 397. Canaday and Vanegas contain dissents that

articulate in detail the flaws with the majorities’ reasonings. Canaday, 9 F.4th at 404-

416; Vanegas, 2024 U.S. App. LEXIS 20780, *26-44.

      In each of those cases, the courts limited the scope of the notice to just the

potential plaintiffs who had claims in the state in which the case was pending. Key to

that analysis is the mistaken idea that an opt-in plaintiff cannot be represented by a

named plaintiff in an FLSA action and such claims are instead like the “mass action”

in BMS. See Canaday, 9 F.4th at 397. These courts further reasoned Congress’ intent

was to curtail FLSA representative actions. See Vanegas, 2024 U.S. App. LEXIS

20780, *11. And, according to them, because the text of Section 216(b) does not permit

nationwide service of process, every plaintiff must meet the requirements of Rule

4(k)(1). See Fischer, 42 F.4th at 370. All these underlying assumptions are incorrect.

      First, as discussed above, Section 216(b) claims are representative actions

regardless of the label of the opt-in plaintiff.

      Second, these courts’ findings that Section 216(b) claims are “mass actions” like

the one in BMS are incorrect. For example, citing to § 216(b), Canaday stated “[i]n an

FLSA collective action, as in the mass action under California law, each opt-in plaintiff

becomes a real party in interest, who must meet her burden for obtaining relief and


                                             35
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 49 of 73




satisfy the other requirements of party status.” Canaday, 9 F.4th at 397. These courts

are inserting requirements into section 216(b) that do not exist in the text of the statute.

Canaday also relied on Abraham v. St. Croix Renaissance Grp., L.L.L.P., 719 F.3d

270, 272 fn.1 (3rd Cir. 2013) in support of this incorrect assertion. This was incorrect

because Abraham actually stated “[u]nlike a class action, a mass action has no

representative or absent members because all plaintiffs in a mass action are named in

the complaint and propose a joint trial of their claims.” Id. That is different than the

reference to “mass action” as used in Campbell because an FLSA collective action does

have a representative and not all plaintiffs are named in the complaint. BMS was not a

representative action because all plaintiffs there were pursuing their claims individually

via multiple lawsuits. See Bristol-Myers, 1 Cal. 5th at 789, rev’d on other grounds,

Bristol-Myers, 582 U.S. at 259. Ultimately, the phrase “mass action” has been

incorrectly used by these other circuits synonymously with a non-representative action.

      Third, Rule 4(k) does not apply to opt-in plaintiffs for the reasons previously

stated, and as articulated in Waters and the dissents in Canaday and Vanegas.

      While these three errors are dispositive, it is also worth noting Section 216(b)

claims cannot fairly be characterized as like the one at issue in BMS. Section 216(b)

claims involve a single, federal cause of action. No interstate principles of federalism

are implicated by out-of-state plaintiffs taking advantage of a foreign state’s laws. The

injuries to be remedied in such claims are to the laws of the United States, not the laws


                                            36
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 50 of 73




of the disparate states. Section 216(b) claims and those considered in BMS are

completely different.

      I.       Application to this case

      Gillespie – based in Arizona and one of the original named plaintiffs – initially

established jurisdiction over Appellant. As explained above, Appellant waived service,

litigated the initial disputes, and obtained substantive rulings with respect to plaintiffs

both in and out of Arizona. Basch later became the subsequent named Arizona plaintiff

who also established jurisdiction over Appellant. The case is “maintained against”

Appellant via Basch in a “court of competent jurisdiction.” Employees who are

“similarly situated” may join the lawsuit, like the hundreds who already joined. There

is nothing that limits the “similarly situated” analysis to only Arizona.

      J.       The District Court’s prior rulings moot Appellant’s argument

      Finally, the District Court specifically noted “[t]o hold otherwise would be

inconsistent with the Court’s previous findings.” ER-28. This makes sense because

Appellant requested, and the District Court made, substantive rulings relating to out-

of-state plaintiffs, even applying Arizona law to these plaintiffs. That did not happen

in the five other appellate courts that have addressed this issue. Also, when disputing

that it waived the personal jurisdiction defense, Appellant conceded that this defense

was not available because of the existence of an Arizona-based named plaintiff. ECF

62, p. 4, fn. 2; ECF 72, pp. 2-4, 6. The District Court agreed with Appellant in its ruling.


                                            37
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 51 of 73




SER-75 (one of the “previous findings” incorporated in the District Court’s order).

Accordingly, Appellant is judicially estopped from arguing to the contrary. See New

Hampshire v. Maine, 532 U.S. 742, 749 (2001) (“Where a party assumes a certain

position in a legal proceeding, and succeeds in maintaining that position, he may not

thereafter, simply because his interests have changed, assume a contrary position,

especially if it be to the prejudice of the party who has acquiesced in the position

formerly taken by him.”); Milton H. Greene Archives v. Marilyn Monroe LLC, 692 F.

3d 983, 993 (9th Cir. 2012).

      Ultimately, Appellant is attempting to utilize Rule 4(k) to circumvent the FLSA

by preventing similarly situated servers from being informed about this lawsuit. That

is a misapplication of Rule 4(k), not what BMS intended, and contrary to the plain

language of Section 216(b).

      K.    Alternatively, the correct procedure is for Appellant to request a
            venue transfer

      Alternatively, even if there was a personal jurisdiction problem, the solution is

not dismissal. It is transferring venue under 28 U.S.C. § 1404(a) or § 1406(a). See

Neumann v. Red Rock 4-Wheelers, Inc., C.A. No. 2:19-cv-02160-ART-EJY, 2022 U.S.

Dist. LEXIS 146131, *15 (D. Nev. Aug. 15, 2022) (“Transfer of venue is appropriate

where… venue is proper, but personal jurisdiction is lacking.”). Appellant never




                                          38
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 52 of 73




challenged venue under FRCP 12(b)(3). 19 There is no need to have personal jurisdiction

over a defendant in order to transfer venue. Goldlawr, Inc. v. Heiman, 369 U.S. 463,

466 (1962); United States v. Berkowitz, 328 F.2d 358, 361 (3d Cir. 1964); Southard v.

Kipper Tool Co., C.A. No. 3:15-cv-03621-JSC, 2023 U.S. Dist. LEXIS 188279, *6-7

(N.D. Cal. Oct. 19, 2023) (“[A] district court may also transfer an action pursuant to

28 U.S.C. § 1404(a), regardless of whether venue is proper or the transferring court has

personal jurisdiction of the defendant.”).

      This further supports why BMS does not apply. There is no state court procedure

to transfer a civil case from one state court to another state court. The only solution is

dismissal without prejudice. But the federal court rules do provide for such a

mechanism.

IV.   Resolving any arbitrability disputes are appropriate for the second stage of
      the conditional certification process

      A.     Background

      Appellant next argues that notices should not be provided “to individuals whom

the District Court already determined to be bound by an enforceable arbitration

agreement.” Appellant Brief, pp. 61-66. That is literally only four people – the four

original named plaintiffs. ER-45-54. But now Appellant claims that the District Court




19
  Appellant’s only arguable challenge to venue was in the context of moving to compel
arbitration.
                                             39
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 53 of 73




made a ruling that tens of thousands of servers are bound to arbitrate their claims. That

is not correct. There is no other ruling as to who is bound to arbitration. This was even

admitted by Appellant. ECF 66, p. 2. 20

      B.     Disputes exist as to who is subject to arbitration

      The District Court recognized that there are at least three sets of disputes as to

who is bound to arbitrate their claims. ER-25, SER-15-16. Appellant recognized and

accepted this dispute. ECF 66, p. 2. There is also another dispute, which includes the

group of adult servers who had signed the arbitration agreement, ended their

employment, and then were re-hired but did not re-sign the arbitration agreement. See

Varna v. TCC Wireless, LLC, 478 F. Supp. 3d 724, 731 (N.D. Ill. 2020) (denying

arbitration for a rehire and noting that the arbitration agreement “said nothing about

what would happen if [the employee] were terminated, but later rehired”). Appellant

does not address this group, but Appellees argued that such servers are not subject to

arbitration. See ECF 65, pp. 8-9, ECF 69, pp. 6-7, ECF 79, pp. 4-5. The District Court

recognized this additional category in a subsequent order. SER-15-16. Appellant also

changed its arbitration agreement in November 2019. SER, 79-86, 112-116; ECF 66,

fn. 2. The District Court only determined that the 2015 arbitration agreement was



20
  “The Court issued an Order stating that the Arbitration Agreement is ‘enforceable’
and dismissing the four previous Named Plaintiffs (Order, ECF 47). The Parties have
not argued and the Court did not issue an Order regarding the enforceability of the
Arbitration Agreement for the three sub-groups identified by Plaintiffs, ECF 60 at 2.”
                                           40
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 54 of 73




enforceable under Arizona law. It has made no ruling as to the enforceability of the

November 2019 arbitration agreement, which is substantively different than the prior

version. Potential opt-in plaintiffs who fall under this November 2019 arbitration

agreement still have the right to argue that this agreement is substantively

unconscionable. The District Court also pointed out that it “cannot possibly define

which opt-in plaintiffs are certainly subject to arbitration at this juncture.” SER-16.

This Court should not force the District Court to undergo an extensive fact-finding

mission of evaluating, on an individualized-basis, potential arbitrability prior to

conditional certification, especially given the language in the notice.

      C.     The District Court made a decision based on the evidence presented

      Appellant also consented to obtaining the discretionary ruling from the District

Court based on the evidence presented. Appellant has provided no evidence to suggest

the District Court abused its discretion by refusing to resolve these disputes at the first

stage of the conditional certification process. For example, Appellant does not

articulate: a) whether a server was a minor at the time of signing or currently, b) what

age it used to determine if a server was considered a minor (which is relevant because

there are differences as to the definition of a minor depending on the state in which the

minor resides), c) how many servers (and whether/when they were a minor) signed the

2015 arbitration agreement compared to the November 2019 arbitration agreement, or

d) who signed-off on an arbitration agreement, left his/her employment, and then


                                            41
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 55 of 73




returned but did not re-sign the agreement. Also unknown are circumstances

surrounding each potential opt-in who may still be able to void the arbitration

agreement if it was in fact signed when the employee was a minor. Finally, because the

approved notice states that only those not subject to arbitration may join the lawsuit,

any alleged policy concerns about improperly stirring-up litigation are moot.

      D.     Resolving arbitrability disputes is appropriate for the second stage of
             the conditional certification process

      The District Court did not abuse its discretion in deciding to defer resolving any

disputes about who is subject to arbitration until the second step of the certification

process. ER-25-26, SER-14-17. Other courts have followed this approach. See Meija

v. Bimbo Bakeries USA, Inc., No. CV-16-00654-TUC-JAS, 2017 U.S. Dist. LEXIS

222183, at *9, n.7 (D. Ariz. Aug. 14, 2017) (whether certain plaintiffs are subject to

mandatory arbitration is “more appropriately considered in the second stage of this

action where discovery has been completed and the standard is more stringent; these

issues are not a bar to conditional certification under the low burden of stage one in this

FLSA collective action.”); Monplaisir v. Integrated Tech Grp., LLC, No. C 19-1484

WHA, 2019 U.S. Dist. LEXIS 132887, *9-10 (N.D. Cal. Aug. 6, 2019) (granting

conditional certification and deferring issue of whether arbitration agreements are valid

and enforceable to second stage of collective action process); Gonzalez v. Diamond

Resorts Int’l Mktg., Case No. 18-cv-979-APG-CWH, 2019 U.S. Dist. LEXIS 126434,

*13-14 (D. Nev. July 29, 2019) (same).
                                            42
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 56 of 73




      Appellant mainly relies on Droesch v. Wells Fargo Bank, N.A., No. 20-cv-

06751-JSC, 2021 WL 2805604 (N.D. Cal. July 6, 2021) to argue that the District Court

erred. But in Droesch, there was no dispute about who was subject to the agreement.

Such a dispute does exist here. Furthermore, the approved notice in Droesch did not

state that it was only applicable to those that are not subject to arbitration. Here, the

notice does clearly make such a statement. Similarly, the Bigger case does not support

Appellant’s position. See Bigger v. Facebook, Inc., 947 F.3d 1043, 1050 (7th Cir.

2020). The Bigger case is contrary to the Ninth Circuit’s Campbell standard. But even

if it did apply, it does not help Appellant:

      [W]hen a defendant opposing the issuance of notice alleges that proposed
      recipients entered arbitration agreements waiving the right to participate in
      the action, a court may authorize notice to those individuals unless (1) no
      plaintiff contests the existence or validity of the alleged arbitration
      agreements, or (2) after the court allows discovery on the alleged
      agreements’ existence and validity, the defendant establishes by a
      preponderance of the evidence the existence of a valid arbitration
      agreement for each employee it seeks to exclude from receiving notice.

Id., 947 F.3d at 1047. Here, Appellees are contesting the validity of the arbitration

agreement based on the disputes as to who is subject to the agreement. The same issue

applies with respect to the Sandbergen case cited by Appellant. See Sandbergen v. Ace

Am. Ins. Co., No. 18-cv-04567-SK, 2019 WL 13203944, *4 (N.D. Cal. June 17, 2019).

In Sandbergen, the plaintiffs actually stipulated that any potential class member who

signed the arbitration agreement would proceed with arbitration. As the District Court

noted, that is not the situation here. ER-25-26. Finally, to reiterate, this is ultimately a
                                               43
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 57 of 73




discretionary case management decision. See Hoffmann-La Roche, 493 U.S. at 169-72.

Therefore, the District Court’s decision must be affirmed.

V.    The District Court did not commit clear error when making a factual
      determination that Basch voided the arbitration agreement.

      The District Court made a factual determination that Basch acted reasonably

when voiding the arbitration agreement. ER-13-15; SER-16, n.12. Appellant

challenges this finding.

      A.     Standard of review

      “[F]indings of fact underlying the district court’s decision” are reviewed for

“clear error.” Lopez v. Aircraft Serv. Int’l, 2024 U.S. App. LEXIS 17784, *5 (9th Cir.

July 19, 2024) (citing Bielski v. Coinbase, Inc., 87 F.4th 1003, 1008 (9th Cir. 2023)).

“Under the clearly erroneous standard of review, an appellate court must accept the

lower court’s findings of fact unless upon review of the appellate court is left with the

definite and firm conviction that a mistake has been committed.” Yeseta v. Baima, 837

F.2d 380, 386 (9th Cir. 1988).

      B.     Arizona state law applies

      Arizona law allows contracts entered into as a minor to be voided without

consideration of whether the voidance occurred as a minor or an adult. St. Paul Fire &

Marine Ins. Co. v. Muniz, 504 P.2d 546, 548 (Ariz. App. 1972); Almada v. Ruelas, 96

Ariz. 155, 158, 393 P. 2d 254, 256 (1964) (“Where a minor has executed a conveyance



                                           44
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 58 of 73




and wishes to avoid its effect he must renounce the instrument ‘within a reasonable

time’ after reaching his majority.”).

      C.     Factual and procedural background

      The parties dispute whether Basch’s voidance of the arbitration agreement

within 18 months of reaching the age of majority was reasonable. In confirming its

initial decision (ER-13-15) that Basch properly voided the arbitration agreement, the

District Court reiterated that “[b]ased on Plaintiff Dylan Basch’s circumstances, the

Court found that eighteen months was a reasonable time for him to disaffirm Cracker

Barrel’s Arbitration Agreement.” SER-16, n.12. So, let’s look at Basch’s

“circumstances.”

      Basch started working for Appellant in Arizona in March 2019 when he was 16

years old. SER-62. He attested that he had never seen or been given an agreement to

arbitrate, was never told by any manager or HR representative that he was agreeing to

arbitrate disputes or waive rights to pursue claims in court, and was never explained

the terms of any alleged agreement to arbitrate. In July 2022, via the lower court

proceedings, he affirmed that even though he had still not seen such an agreement, he

was voiding it to any extent it exists. Id, ¶5.

      In response, Appellant provided a declaration from its Director of Corporate

Human Resources. SER-29-30. She confirmed that Basch was still employed by




                                             45
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 59 of 73




Appellant, he completed “required CBU training on October 19, 2019,” 21 and clicked

a “Mark Complete” button on a computer to acknowledge he had read, understood, and

would comply with the Arbitration Agreement. She also attested that the agreement

was countersigned by Appellant’s Vice President of Human Resources, Michael Mott.

However, the signature page was recycled from the version Appellant had previously

used when seeking to compel arbitration for the original four named plaintiffs and does

not appear to be a true separate document actually signed by Mott. SER-38, 116.

         Appellant did not otherwise contradict Basch’s declaration. There is no evidence

that Basch was actually given a hardcopy of, or emailed, the arbitration agreement, or

otherwise had access to review it when he wanted to. There is no evidence that, in the

nearly three years between when he allegedly signed-off on the agreement and he

repudiated it, Appellant provided him access to the agreement or otherwise reminded

him of the terms of the agreement. The agreement itself (SER-34-38, 112-116) is

single-spaced, 2,800 words and over four pages long, and in 10 pt. font. It contains

several legal terms (such as “deposition,” “interrogatory,” and “court of competent

jurisdiction”), discovery limitations, references to various statutes and procedural rules,

and a lengthy website address that doesn’t go anywhere. 22 Some sentences are 5 – 10



21
     Which was about seven months after he started working for Appellant.
22
     https://www.adr.org/aaa/ShowProperty?nodeId=/UCM/ADRSTG_004362


                                            46
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 60 of 73




lines long. In sum, Appellant expects a 16-year-old to read, understand, apparently

memorize, and forever be bound to such an agreement that may have been presented

to him when he was clicking-through a fleeting online “training” process over the

course of a few minutes years ago. 23

      Basch signed-off on the arbitration agreement when he was a sixteen-year-old

minor and he voided it in August 2022, eighteen months after he reached the age of

majority. ER-13. Appellant only asked the District Court 24 to rule that the amount of

time that had passed was unreasonable. ECF 77, pp. 8-11. The District Court rejected

Appellant’s request.

      D.     There is no clear error

      As articulated above, a reasonableness standard controls this analysis, and the

issue is whether the District Court committed “clear error” in its finding. A “reasonable

time” is determined by how much time passes once an individual discovers the nature

and significance of the contract, “not the time between signing and disaffirming.”

Garcia v. Cent. Coast Rests., Inc., No. 18-cv-02370-RS, 2019 U.S. Dist. LEXIS

162588, *9 (N.D. Cal. Sept. 23, 2019). The Ninth Circuit has held the following:

             What constitutes a ‘reasonable time’ depends upon the
             circumstances of each particular case. Hastings v.
23
  While Appellant does not fully explain the form it used to validate Basch’s sign-off
of the arbitration agreement, that document suggests he had completed 103 modules
over the course of 2 hours and 54 minutes. SER-32.
24
  Appellant did not request a jury trial on this issue, but instead consented to the
District Court resolving the dispute.
                                           47
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 61 of 73




             Dollarhide, 24 Cal. 195. The reason for this grant of a
             reasonable time was stated in Goodnow v. Empire Lumber
             Co., 31 Minn. 468, 18 N.W. 283, 284, 47 Am.Rep. 798, as
             follows: ‘For this purpose of protection the law gives them
             an opportunity, after they have become capable of judging
             for themselves, to determine whether such acts or obligations
             are beneficial or prejudicial to them, and whether they will
             abide by or avoid them.’ Under the circumstances of this
             case, Hurley had no opportunity to exercise any judgment
             upon the matter until the learned he had some interest in
             the stock. Until then, a reasonable time had not elapsed.

Hurley v. Southern Cal. Edison Co., 183 F.2d 125, 132 (9th Cir. 1950) (emphasis

added). Knowledge of the impact of the contract, or the discovery rule, applies to what

is considered a “reasonable time” to disaffirm a contract. See e.g., Garcia, 2019 U.S.

Dist. LEXIS 162588 at *9 (citing Hurley); see also Gust, Rosenfeld & Henderson v.

Prudential Ins. Co. of Am., 182 Ariz. 586, 590, (1995) (discovery rule available for

contract disputes). Because the discovery rule applies for a contract dispute, it would

be logical to allow disaffirming a contract based on a similar theory. And this makes

sense, as it would be illogical to expect every person – on their 18th birthday – to start

searching for and consider voiding every contract he/she may have agreed to during

the first 18 years of his/her life. This is why the analysis is fact-intensive and subject

to a “clear error” standard of review. There is “no hard and fast rule” concerning how

long is a “reasonable” time to disaffirm a contract. Relevant factors include the

intelligence of the minor, how he learned of the contract, and what he knew of it.

Merchants’ Credit Bureau v. Akiyama, 64 Utah 364, 370, 230 P. 1017 (1924)


                                           48
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 62 of 73




(“[U]nless it is made to appear that the minor was fully advised of his rights after

attaining his majority, the law deals leniently with him with respect to the time within

which he may disaffirm.”)

      Appellant’s entire argument rests on the sole proposition that 18 months after

reaching the age of majority is, per se, too long to void the contract, without considering

any of the above-referenced circumstances. That is not the law. It disregards the

evidence presented by Basch, especially that he does not have access to the arbitration

agreement and does not know any of the details about it. 25 The trial court made a

finding of fact that the timing was reasonable in part because Appellant failed to explain

to him that he was waiving his right to pursue claims in court and therefore did not

have the opportunity to exercise judgment in the matter until he learned of the

significance of the ADR. 26 ER-14 (citing Hurley, 183 F.2d at 125). This was not clear

error based on the circumstances.




25
   Appellees are not arguing at this stage that the arbitration agreement was
unenforceable as it pertains to Basch based on procedural unconscionability grounds.
Whether someone can void an agreement is different than whether the agreement
should be unenforceable because of substantive or procedural unconscionability.
 As shown by his declaration, Basch was unaware of the potential significance of the
26

ADR until he joined this lawsuit. SER-62.


                                            49
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 63 of 73




      E.     Continued employment was not consideration in exchange for
             agreeing to arbitration

      Appellant contends that employment, or continued employment, was the

consideration given to Basch. But that is not accurate. This is based on several facts:

1) the arbitration agreement itself explicitly states it does not create the benefit of

employment; 27 2) there is no evidence that Basch was informed that he would be

terminated if he did not sign-off on the arbitration agreement; 3) Basch was employed

for seven months before he clicked the box online in October 2019; 4) even though he

voided it in July 2022, his employment continued on (SER-29, ¶2); 5) named plaintiffs

Liammaytry and Lenchert never signed the arbitration agreement yet remained

employed (ECF 58, p. 4; ECF 62, p. 7; ECF 76, p.4); and 6) by Appellant’s own

admission, there are thousands of servers (representing about 15% of the server

workforce, not including minors) who apparently never signed-off on the arbitration

agreement (ER-4-5), yet there is no evidence that they were terminated as a result. The

District Court also rejected Appellant’s argument. ER-14-15.

      At most, the consideration provided was that both parties would agree to arbitrate

(i.e. the mutual obligation to arbitrate). The first line of the first page of the agreement



27
  “This Dispute Resolution Agreement is not and shall not be construed to create any
contract of employment for a specified duration, express or implied. This Dispute
Resolution Agreement does not in any way alter the “at-will” status of employment
with Cracker Barrel...” SER-115. The November 2019 agreement contains similar
language. SER-86.
                                            50
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 64 of 73




references the “mutual promises contained” in the agreement, which can only be a

reference to Appellant also agreeing to arbitrate claims it may have against the

employee. SER-34. Notably, the “Covered Disputes” section states that it “includes

claims Cracker Barrel may have against me….” Id. Appellant has never initiated any

arbitration proceeding against Basch, but it is no longer bound to that restriction.

      F.       Appellant’s argument is contrary to Arizona law and would eradicate
               the infancy doctrine

      In Arizona, minors who void their contracts and have received a benefit by virtue

of that contact, must return 28 the other party to the status quo that existed before the

parties contracted. Jennings v. Lee, 105 Ariz. 167, 171, 461 P.2d 161, 165 (1969). Not

all contractual benefits are created the same, and what constitutes the status quo is

different in each case. Whatever the case, however, “the doors of the court [are] not …

closed against” a minor simply because he cannot return the precise consideration paid

to him. Worman Motor Co. v. Hill, 54 Ariz. 227, 231-32, 94 P.2d 865, 866 (1939). In

Valencia, for example, the minor was allowed to void a contract, but had to repay the

value of the labor and truck tractor engine to the garage because the labor could not be

returned, and the engine was damaged by the minor. Valencia v. White, 134 Ariz. 139,

144, 654 P.2d 287, 292 (Ariz. Ct. App. 1982).



28
  The “benefit” Arizona courts consider is not contractual consideration. Rather, the
benefit that must be returned is the actual property or monetary benefit the minor
received.
                                            51
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 65 of 73




      Basch obtained no benefits from the ADR agreement and would not have known

about its potential significance until after he joined this lawsuit. Basch voided the ADR

Agreement before Appellant disclosed the potential significance to him when it filed

its motion to dismiss (ECF 77). Voiding it before he is aware of the potential

significance has to be a “reasonable time.” In fact, it would be inequitable and against

public policy to not be able to void a contract given the “circumstances” as explained

above. Regardless, there is nothing preventing Appellant from being returned to the

status quo, as it has lost nothing via the voidance. Put simply, if Basch cannot void an

agreement from which he received no actual benefit, there are no circumstances where

a minor may void their contract. Such an outcome is contrary to Arizona law.

      G.     The cases relied on by Appellant do not apply

      Appellant relies on several distinguishable cases that do not apply Arizona law

to argue that public policy requires enforcing the arbitration agreement (essentially

making it impossible to void the agreement).

      Paster involved a challenge to a forum selection clause of a liability waiver,

which was a prerequisite to going on a student trip, and where the plaintiff had already

received the benefit of the contract (going on the trip). Paster v. Putney Student Travel,

Inc., CV 99-2062 RSWL, 1999 U.S. Dist. LEXIS 9194, *7 (C.D. Cal. June 7, 1999).

In that situation, even though the plaintiff could technically not “return” the trip she

had already taken, that decision (attempting to apply California law) was wrong and


                                           52
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 66 of 73




contrary to other California cases. For example, other district court decisions in

California correctly hold, to the contrary, that under California law, receipt of benefits

does not bar disaffirmation. See, e.g., I.B. ex rel. Fife v Facebook, 905 F. Supp. 2d 989,

1001 (N.D. Cal. 2012) (“Under California law, a minor may ‘disaffirm all obligations

under a contract, even for services previously rendered, without restoring consideration

or the value of services rendered to the other party.’”) (emphasis in original).

Regardless, Basch’s situation must be evaluated under Arizona law, which at most

would involve “returning” Appellant’s obligation to arbitrate claims it may have

against him.

      In Bobby Floars, the plaintiff utilized and made payments on a car for several

months before he tried to disaffirm the contract. See Bobby Floars Toyota Inc. v. Smith,

48 N.C. App. 580, 584, 269 S.E.2d 320, 323 (N.C. 1980) (acknowledging that using

the automobile, “an item of personal property” was “constantly depreciating in value”).

This is not a situation involving the use of personal property or something that

constantly depreciates in value. Basch has not been using, keeping, or doing anything

under the arbitration agreement that would have caused any prejudice to Appellant.

      In Sheller, the employee/plaintiff received an actual benefit of employment in

exchange for signing-off on the ADR Agreement. Sheller by Sheller v. Frank’s Nursery

& Crafts, 957 F. Supp. 150, 153-154 (N.D. Ill. 1997) (“Had they not signed the

employment application which contained the arbitration clause, they would not have


                                           53
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 67 of 73




been hired by Defendant. Thus, if the Court were to allow the minor Plaintiffs to

disaffirm the contract, Plaintiffs would be retaining the advantage of employment --

which entitled them to bring the instant Title VII suit -- while repudiating their entire

basis of employment -- the employment application.”). As explained above, such

evidence does not exist here. Also, Basch’s situation is not an employment application

scenario. Furthermore, courts have rejected or otherwise distinguished the reasoning in

Sheller, noting that it was a fact-specific scenario under Illinois law and not meant to

“eviscerate the infancy doctrine.” See, e.g., Stroupes v. Finish Line, Inc., No. 1:04-cv-

133, 2005 U.S. Dist. LEXIS 6975, *8-12 (E.D. Tenn. Mar. 15, 2005); Lopez v. Kmart

Corp., No. 15-cv-01089-JSC, 2015 U.S. Dist. LEXIS 58328, *19-20 (N.D. Cal. May

4, 2015).

      Appellant also relies on E.K.D. ex. Rel Dawes v. Facebook, Inc., 885 F. Supp.

2d 894, 899 (S.D. Ill. 2012) in support of its position. E.K.D. ex Rel Dawes was, like

other cases relied on by Appellant, not an employment case and does not concern

Arizona law. Instead, that case involved users of Facebook seeking to disaffirm a

forum-selection clause. However, because they continued to use Facebook, the district

court prevented such plaintiffs from doing so. But, again, as explained above, there was

no consideration provided to Basch that could be returned other than the mutual

obligation to arbitrate disputes. This was acknowledged by the District Court here,

noting that the cases relied upon by Appellant involved benefits of the “purchase of a


                                           54
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 68 of 73




trip, car, and social media account,” not an employment and/or arbitration agreement.

ER-14, n. 6; ER-15, n.7.

      Norred concerned a situation involving Texas law, not Arizona law, and still

indicated that “reasonable time” depends on the circumstances of the case. See Norred

v. Cotton Patch Café, LLC, 3:19-cv-1010-G, 2019 U.S. Dist. LEXIS 183290 (N.D.

Tex. 2019). Kelly involved a situation where a minor purchased stocks between

September and December 1929, sold the stocks at a loss in March 1930, and then tried

to void the losses a few years later, seven months after he turned 18. Kelly v. Furlong,

194 Minn. 465 (Minn. 1935). Whether a “reasonable time” had passed was submitted

to the jury to determine, which found that it was not “reasonable.” Id. at 466.

Disregarding the factual dispute in that case and Appellant’s waiver of a jury trial to

resolve the dispute here, there was no analysis on the status quo issue that is relevant

here. Notably, even if seven months was a reasonable time, under existing law and

policy, the plaintiff in that situation should not have had the ability to void or disaffirm

the transactions, as it would have resulted in an unfair monetary gain based on a bad

bet in the stock market.

      Basch was a minor when he signed-off on the unread ADR agreement, he

disaffirmed the agreement before he learned that he even consented to arbitration, and

he continued working with Appellant. He never derived any benefit out of the




                                            55
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 69 of 73




agreement, and Appellant has not suffered any prejudice or harm. Accordingly, Basch

is not subject to arbitration because he appropriately voided the agreement.

      H.     Under the “law of the case” doctrine, the District Court’s decision
             must be affirmed

      Finally, the “law of the case” doctrine requires affirmation of the District Court’s

decision. Earlier in the proceedings, the District Court determined that two other

plaintiffs (Harrington and Webster) had properly voided the arbitration agreements that

they had signed as minors. ER-47, 53. Harrington was 21 years old when he voided his

agreement, and Webster was 22 years old. SER-97-98; ER-47. They were both minors

when they signed-off on the arbitration agreements via Appellant’s automated

electronic confirmation process. They both voided the agreements approximately three

and four years, respectively, after reaching the age of majority.

      “‘Under the [law of the case] doctrine, a court is generally precluded from

reconsidering an issue previously decided by the same court….’” United States v.

Lummi Nation, 763 F.3d 1180, 1185 (9th Cir. 2014) (internal citation omitted). “The

law of the case doctrine applies only when the issue was decided explicitly or by

necessary implication in the previous disposition.” Underhill v. Kijakazi, No. 22-

36033, 2023 U.S. App. LEXIS 32346, *3 (9th Cir. Dec. 27, 2023). “Even summarily

treated issues become law of the case.” Leslie Salt Co. v. United States, 55 F.3d 1388,

1392 (9th Cir. 1995). In accordance with the law of the case, the trial court held:



                                           56
           Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 70 of 73




       At the outset, the Court has already identified two opt-in Plaintiffs that
       were not subject to arbitration because they entered into Cracker Barrel’s
       Arbitration Agreement as minors. (Doc. 47, at 3 (citing 29-2)). Those opt-
       in Plaintiffs had voided their Agreements 2-4 years after turning the
       majority age, which is well over eighteen months (See Doc. 29-2).
       Accordingly, as a matter of consistency and fairness the Court finds
       Basch’s eighteen months delay in voiding his Agreement is reasonable.

ER-13. If it was reasonable for the District Court to determine that time periods of three

and four years after reaching the age of majority to void the arbitration agreements,

then 18 months must also be reasonable. To hold otherwise would be illogical. The

District Court did not commit clear error with respect to its factual findings and,

therefore, Basch is not subject to arbitration.

                                    CONCLUSION

       Appellees respectfully request that this Court affirm the District Court’s decision

in full.




                                            57
         Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 71 of 73




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

9th Cir. Case Number(s) 23-15650 (L), 24-1979

      I am the attorney or self-represented party.

      This brief contains 13,624 words, including 0 words manually counted in any

visual images, and excluding the items exempted by FRAP 32(f). The brief’s type size

and typeface comply with FRAP 32(a)(5) and (6).

      I certify that this brief (select only one):

[XX] complies with the word limit of Cir. R. 32-1.

[ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

[ ] is an amicus brief and complies with the word limit of FRAP 29(a)(5), Cir. R. 29-
   2(c)(2), or Cir. R. 29-2(c)(3).

[ ] is for a death penalty case and complies with the word limit of Cir. R. 32-4.

[ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
   only one):
      [ ] it is a joint brief submitted by separately represented parties.
      [ ] a party or parties are filing a single brief in response to multiple briefs.
      [ ] a party or parties are filing a single brief in response to a longer joint brief.

[ ] complies with the length limit designated by court order dated _____________.

[ ] is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


Signature /s/ Nitin Sud                               Date August 28, 2024




                                             58
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 72 of 73




                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT

      Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6


9th Cir. Case Number(s) 23-15650 (L), 24-1979

The undersigned attorney or self-represented party states the following:

[XX] I am unaware of any related cases currently pending in this court.

[ ] I am unaware of any related cases currently pending in this court other than the
    case(s) identified in the initial brief(s) filed by the other party or parties.

[ ] I am aware of one or more related cases currently pending in this court. The case
    number and name of each related case and its relationship to this case are:

Signature /s/ Nitin Sud                             Date August 28, 2024




                                          59
        Case: 23-15650, 08/28/2024, ID: 12905362, DktEntry: 29, Page 73 of 73




                          CERTIFICATE OF SERVICE

      I, Nitin Sud, certify that I filed the foregoing brief electronically in PDF

format with the Court via the ECF system on August 28, 2024. I further certify that

I served the foregoing brief electronically in PDF format through the ECF system on

August 28, 2024 to all counsel of record.


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                                            60
